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 6

 7

 8                                       UNITED STATES DISTRICT COURT

 9                          EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

10

11 FEDERAL AGRICULTURAL MORTGAGE                          Case No.
   CORPORATION,
12                                                        COMPLAINT FOR:
              Plaintiff,
13                                                        (1) BREACH OF CONTRACT;
        v.                                                (2) APPOINTMENT OF RECEIVER,
14                                                        ACCOUNTING, AND SPECIFIC
   ASSEMI BROTHERS, LLC; MARICOPA                         PERFORMANCE; AND
15 ORCHARDS, LLC; C & A FARMS, LLC;                       (3) FOR INJUNCTIVE RELIEF AGAINST
   WHITESBRIDGE FARMS, LLC; WILLOW                        ALL DEFENDANTS;
16 AVENUE INVESTMENTS, LLC; LINCOLN
   GRANTOR FARMS, LLC; COPPER
17 AVENUE INVESTMENTS, LLC; ACAP
   FARMS, LLC; CANTUA ORCHARDS, LLC;
18 GRADON FARMS, LLC,

19                         Defendants.

20

21                   COMES NOW Plaintiff Federal Agricultural Mortgage Corporation (“Farmer Mac” or

22 “Plaintiff”), a corporation organized and existing under the laws of the United States, by and through

23 the undersigned counsel, and pursuant to Fed. R. Civ. P. 66 for its causes of actions against

24 Defendants Assemi Brothers, LLC, a California limited liability company (“Assemi Brothers”),

25 Maricopa Orchards, LLC, a California limited liability company (“Maricopa”), C & A Farms, LLC,

26 a California limited liability company (“C & A Farms”), Whitesbridge Farms, LLC, a California

27 limited liability company (“Whitesbridge”), Willow Avenue Investments, LLC, a California limited

28 liability company (“Willow Avenue”), Lincoln Grantor Farms, LLC, a California limited liability

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 1 company (“Lincoln”), Copper Avenue Investments, LLC, a California limited liability company

 2 (“Copper Avenue”), ACAP Farms, LLC, a California limited liability company (“ACAP”), Cantua

 3 Orchards, LLC, a California limited liability company (“Cantua”), and Gradon Farms, LLC, a

 4 California limited liability company (“Gradon”, and collectively, the “Borrower Defendants”).

 5                                                  INTRODUCTION

 6                   1.    Borrower Defendants breached their obligations owing to Farmer Mac under various

 7 loans. Consequently, Farmer Mac now seeks judgment against the Borrower Defendants for

 8 amounts owed through the date of judgment as a result of the breach of the Farmer Mac Loans (as

 9 defined herein), the appointment of a receiver, an accounting, and specific performance of its right

10 to possession and rents and profits under the applicable section of each of the Deeds of Trust (as

11 defined herein), in addition to injunctive relief.

12                   2.    Borrower Defendants have defaulted on their obligations under the Farmer Mac

13 Loans (as defined herein) by, inter alia, failing to make payment of outstanding accrued interest and

14 outstanding principal on or before July 1, 2024, under certain of the Farmer Mac Loans more

15 particularly described below, in addition to certain financial covenant defaults under the terms of

16 certain of the Farmer Mac Loans as defined below. As of the filing hereof, the outstanding amount

17 owed under the Loan Documents, inclusive of interest and fees, by the Borrower Defendants is

18 $41,833,201.59.

19                   3.    Unless a receiver is appointed to, inter alia, collect rents, protect and manage the Real

20 Property (as defined herein), the Real Property, which serves as Farmer Mac’s Collateral (as defined

21 herein) is at risk of significant harm and diminution of value, resulting in significant harm to Farmer

22 Mac. The Real Property consists of approximately 4,373 acres of real property utilized for the

23 farming of pistachios and almonds, with certain tracts of such Real Property dedicated to the

24 development of solar power generation. The farmland requires regular care and maintenance to

25 preserve its value and ensure the health of the pistachio and almond trees on the land. Upon

26 information and belief, the Borrower Defendants’ (and related farming entities) business situation

27 is such that they lack the necessary funds to maintain their real property and crops, including the

28 Real Property, as a result of severe financial stress, and the same is in danger of damage or harm,

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 1 ultimately causing harm to Farmer Mac. The Borrower Defendants’ and related entities’ financial

 2 distress has resulted in the commencement of multiple legal actions and appointment of multiple

 3 receivers already as a result of the Borrower Defendants and their related entities having outstanding

 4 debts due and owing in an amount close to $1,000,000,000 with no means to repay such debts,

 5 including that owed to Farmer Mac.

 6                   4.    Farmer Mac is entitled to the relief requested. The Borrower Defendants have

 7 defaulted under the terms of the Farmer Mac Loans, and following the acceleration of the same, the

 8 total outstanding principal and interest, currently accruing at the default rate, due and owing on the

 9 Famer Mac Loans (exclusive of fees and costs) is at least $41,416,040.49 as of November 21, 2024.

10                                                 THE PARTIES

11                   5.    Farmer Mac is a corporation organized and existing under the laws of the United

12 States and is authorized to do business in the State of California, with a principal place of business

13 located in Washington, D.C.

14                   6.    Upon information and belief, Defendant Assemi Brothers is a limited liability

15 company organized and existing under the laws of the State of California, with a principal place of

16 business in Fresno County, California. Plaintiff is informed and believes that Assemi Brothers is

17 owned by: (i) The Amended and Restated Farid Assemi Revocable Trust (the “Farid Assemi

18 Revocable Trust”), the Trustee of which is Farid Assemi, a citizen of California; (ii) The Amended

19 and Restated Darius Assemi Revocable Trust (the “Darius Assemi Revocable Trust”), the Trustee

20 of which is Darius Assemi, a California citizen; and (iii) The Amended and Restated Farshid Assemi

21 and Sonia Rosemary Assemi Revocable Trust (the “Farshid and Sonia Assemi Revocable Trust”),

22 the Co-Trustees of which are Farshid Assemi and Sonia Rosemary Assemi, citizens of California.

23 As the Trustees or Co-Trustees of each trust that owns Assemi Brothers are citizens of California,

24 Assemi Brothers is a citizen of California for the purposes of diversity jurisdiction.

25                   7.    Upon information and belief, Defendant Maricopa is a limited liability company

26 organized and existing under the laws of the State of California, with a principal place of business

27 in Fresno County, California. Plaintiff is informed and believes that Maricopa is owned by: (i) The

28 Farid Assemi Revocable Trust, The Trustee of which is Farid Assemi, a citizen of California; and

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 1 (ii) the Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a California citizen;

 2 (iii) The Farshid Assemi 1997 Ranch Trust (the “Farshid Assemi Ranch Trust”), the Trustee of

 3 which is Faris Assemi, a California citizen; (iv) The Farid Assemi 1997 Ranch Trust (the “Farid

 4 Assemi Ranch Trust”), the Co-Trustees of which are Farshid Assemi and Neema Eliot Assemi,

 5 citizens of California; and (v) The Farshid and Sonia Assemi Revocable Trust, the Co-Trustees of

 6 which are Farshid Assemi and Sonia Rosemary Assemi, citizens of California. As the Trustees or

 7 Co-Trustees of each trust that owns Maricopa are California citizens, Maricopa is a citizen of

 8 California for purposes of diversity jurisdiction.

 9                   8.    Upon information and belief, Defendant C & A Farms is a limited liability company

10 organized and existing under the laws of the State of California, with a principal place of business

11 in Fresno County, California. Plaintiff is informed and believes that C & A Farms is owned by: (i)

12 The Farid Assemi Revocable Trust, the Trustee of which is Farid Assemi, a citizen of California;

13 (ii) The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a California citizen;

14 (iii) The Farshid Assemi and Sonia Assemi Revocable Trust, the Co-Trustees of which are Farshid

15 Assemi and Sonia Rosemary Assemi, citizens of California; (iv) The Farshid Assemi Ranch Trust,

16 the Trustee of which is Faris Assemi, a California citizen; and (v) The Farid Assemi Ranch Trust,

17 the Co-Trustees of which are Farshid Assemi and Neema Eliot Assemi, citizens of California. As

18 the Trustees or Co-Trustees of each trust that owns C & A Farms are California citizens, C & A

19 Farms is a citizen of California for purposes of diversity jurisdiction.

20                   9.    Upon information and belief, Defendant Whitesbridge is a limited liability company

21 organized and existing under the laws of the State of California, with a principal place of business

22 in Fresno County, California. Plaintiff is informed and believes that Whitesbridge is owned by: (i)

23 the Farid Assemi 2010 grantor Trust Dated December 30, 2010 (the “Farid Assemi Grantor Trust”),

24 the Trustee of which is Neema Assemi, a citizen of California; and (ii) The Farshid and Sonia

25 Assemi 2010 Grantor Trust dated December 30, 2010 (the “Farshid and Sonia Assemi Grantor

26 Trust”), the Trustee of which is Melissa Layne, a California citizen. As the Trustees of each trust

27 that owns Whitesbridge are California citizens, Whitsebridge is a citizen of California for purposes

28 of diversity jurisdiction.

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 1                   10.   Upon information and belief, Defendant Willow Avenue is a limited liability

 2 company organized and existing under the laws of the State of California, with a principal place of

 3 business in Fresno County, California. Plaintiff is informed and believes that Willow Avenue is

 4 owned by: (i) The Farid Assemi Grantor Trust, the Trustee of which is Neema Assemi, a citizen of

 5 California; (ii) The Farshid and Sonia Assemi Grantor Trust, the Trustee of which is Melissa Layne,

 6 a California citizen; and (iii) The Darius Assemi Revocable Trust, the Trustee of which is Darius

 7 Assemi, a California citizen. As the Trustees of each trust that owns Willow Avenue are California

 8 citizens, Willow Avenue is a citizen of California for purposes of diversity jurisdiction.

 9                   11.   Upon information and belief, Defendant Lincoln is a limited liability company

10 organized and existing under the laws of the State of California, with a principal place of business

11 in Fresno County, California. Plaintiff is informed and believes that Lincoln is owned by: (i) The

12 Farid Assemi Revocable Trust, the Trustee of which is Farid Assemi, a citizen of California; and

13 (ii) The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a California citizen.

14 As the Trustees of each trust that owns Lincoln are California citizens, Lincoln is a citizen of

15 California for purposes of diversity jurisdiction.

16                   12.   Upon information and belief, Defendant Copper Avenue is a limited liability

17 company organized and existing under the laws of the State of California, with a principal place of

18 business in Fresno County, California. Plaintiff is informed and believes that Copper Avenue is

19 owned by: (i) The Farid Assemi Revocable Trust, the Trustee of which is Farid Assemi, a citizen of

20 California; (ii) The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a

21 California citizen; and (iii) The Farshid and Sonia Assemi Revocable Trust, the Co-Trustees of

22 which are Farshid Assemi and Sonia Rosemary Assemi, citizens of California. As the Trustees or

23 Co-Trustees of each trust that owns Copper Avenue are California citizens, Copper Avenue is a

24 citizen of California for purposes of diversity jurisdiction.

25                   13.   Upon information and belief, Defendant ACAP is a limited liability company

26 organized and existing under the laws of the State of California, with a principal place of business

27 in Fresno County, California. Plaintiff is informed and believes that ACAP is owned by: (i) The

28 Farid Assemi Revocable Trust, the Trustee of which is Farid Assemi, a citizen of California; (ii)

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 1 The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a California citizen;

 2 and (iii) The Farshid and Sonia Assemi Revocable Trust, the Co-Trustees of which are Farshid

 3 Assemi and Sonia Rosemary Assemi, citizens of California. As the Trustees or Co-Trustees of each

 4 trust that owns ACAP are California citizens, ACAP is a citizen of California for purposes of

 5 diversity jurisdiction.

 6                   14.   Upon information and belief, Defendant Cantua is a limited liability company

 7 organized and existing under the laws of the State of California, with a principal place of business

 8 in Fresno County, California. Plaintiff is informed and believes that Cantua is owned by: (i) The

 9 Farid Assemi Revocable Trust, the Trustee of which is Farid Assemi, a citizen of California; (ii)

10 The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a California citizen;

11 (iii) The Farshid Assemi Ranch Trust, the Trustee of which is Faris Assemi, a California citizen;

12 (iv) The Farid Assemi Ranch Trust, the Co-Trustee of which are Farshid Assemi and Neema Eliot

13 Assemi, citizens of California; and (v) The Farshid and Sonia Assemi Revocable Trust, the Co-

14 Trustees of which are Farshid Assemi and Sonia Rosemary Assemi, citizens of California. As the

15 Trustees or Co-Trustees of each trust that owns Cantua are California citizens, Cantua is a citizen

16 of California for purposes of diversity jurisdiction.

17                   15.   Upon information and belief, Defendant Gradon is a limited liability company

18 organized and existing under the laws of the State of California, with a principal place of business

19 in Fresno County, California. Plaintiff is informed and believes that Gradon is owned by: (i) The

20 Farid Assemi 2010 Grantor Trust, the Trustee of which is Neema Assemi, a citizen of California;

21 (ii) The Farshid and Sonia Assemi Grantor Trust, the Trustee of which is Melissa Layne, a California

22 citizen; and (iii) The Darius Assemi Revocable Trust, the Trustee of which is Darius Assemi, a

23 California citizen. As the Trustees of each trust that owns Gradon are California citizens, Gradon

24 is a citizen of California for purposes of diversity jurisdiction.

25                                         VENUE AND JURISDICTION

26                   16.   This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §

27 1332(a)(1) because the controversy is between citizens of different states and the amount in

28 controversy exceeds $75,000, exclusive of interest and costs.

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 1                   17.   Venue in this district is proper pursuant to 28 U.S.C. § 1391.

 2                                            FACTUAL BACKGROUND

 3 A.                Farmer Mac Loans

 4                   18.   Beginning in or around January 2018, Farmer Mac entered into a series of

 5 transactions whereby, pursuant to that certain Farmer Mac Seller/Servicer Agreement dated May

 6 12, 2014 by and between Farmer Mac and Conterra Agricultural Capital, LLC (“Conterra”), a true

 7 and accurate copy of which is attached hereto as Exhibit A, it became the holder of certain loans

 8 and security interests originated by Conterra in favor of the Borrower Defendants. Specifically:

 9                         a.     On or about January 8, 2018, C & A and Whitesbridge executed a promissory

10 note in favor of Conterra in the original principal amount of $5,500,000 (as amended, restated or

11 modified from time to time, the “Loan 1725 Note”). The terms of the Loan 1725 Note were amended

12 by that Certain Amendment to Note dated June 27, 2018. Conterra has assigned all of its rights, title

13 and interest in the Loan 1725 Note to Farmer Mac pursuant to that certain Allonge to Promissory

14 Note dated as of January 8, 2018, pursuant to which Conterra instructed the relevant Borrower

15 Defendants to make all payments due and owing under the Loan 1725 Note to the order of U.S.

16 Bank National Association, as custodian/trustee for Farmer Mac. Farmer Mac is the holder of the

17 Loan 1725 Note. True and accurate copies of the Loan 1725 Note, amendment and allonge

18 evidencing Farmer Mac’s ownership of the loan are attached hereto as Exhibit B.

19                         b.     On or about January 8, 2018, C & A and Whitesbridge executed a promissory

20 note in favor of Conterra evidencing a line of credit extended to the relevant Borrower Defendants

21 in the original principal amount of $1,500,000 (as amended, restated or modified from time to time,

22 the “Loan 1728 Note”). The terms of the Loan 1728 Note were modified by that certain Exhibit A

23 to Note Form of Agreement to Convert dated as of June 27, 2018. Conterra has assigned all of its

24 rights, title and interest in the Loan 1728 Note to Farmer Mac pursuant to that certain Allonge to

25 Promissory Note dated as of January 8, 2018, pursuant to which Conterra instructed the relevant

26 Borrower Defendants to make all payments due and owing under the Loan 1728 Note to the order

27 of U.S. Bank National Association, as custodian/trustee for Farmer Mac. Farmer Mac is the holder

28 of the Loan 1728 Note. True and accurate copies of the Loan 1728 Note, amendment and allonge

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 1 evidencing Farmer Mac’s ownership of the loan are attached hereto as Exhibit C.

 2                         c.   On or about October 11, 2019, Copper, Maricopa, along with non-defendant

 3 California limited liability companies Ashlan & Hayes Investments, LLC (“A&H”) and ACAP

 4 Holdings, LLC (“ACAP Holdings”) executed a promissory note in favor of Conterra evidencing a

 5 line of credit extended to the relevant Borrower Defendants in the original principal amount of

 6 $5,297,232 (as amended, restated or modified from time to time, the “Loan 1673 Note”). The terms

 7 of the Loan 1673 Note were modified by that certain First Amendment to Note dated February 2,

 8 2023. Conterra has assigned all of its rights, title and interest in the Loan 1673 Note to Farmer Mac

 9 pursuant to that certain Allonge to Promissory Note dated as of October 11, 2019, pursuant to which

10 Conterra instructed the relevant Borrower Defendants to make all payments due and owing under

11 the Loan 1673 Note to the order of U.S. Bank National Association, as custodian/trustee for Farmer

12 Mac. Farmer Mac is the holder of the Loan 1673 Note. True and accurate copies of the Loan 1673

13 Note, amendment and allonge evidencing Farmer Mac’s ownership of the loan are attached hereto

14 as Exhibit D. Ashlan & Hayes Investments, LLC and ACAP Holdings, LLC assigned all rights,

15 title and interest in and to Loan 1673 Note and the real property collateral securing Loan 1673 Note

16 as evidenced by those certain Assumption Agreements dated February 2, 2023, true and accurate

17 copies of which are attached hereto as Exhibit E.

18                         d.   On or about October 11, 2019, Copper, Maricopa, along with non-defendants

19 A&H and ACAP Holdings executed a promissory note in favor of Conterra in the original principal

20 amount of $10,258,632 (as amended, restated or modified from time to time, the “Loan 1674 Note”).

21 The terms of the Loan 1674 Note were modified by that certain First Amendment to Note dated

22 February 2, 2023. Conterra has assigned all of its rights, title and interest in the Loan 1674 Note to

23 Farmer Mac pursuant to that certain Allonge to Promissory Note executed October 11, 2019,

24 pursuant to which Conterra instructed the relevant Borrower Defendants to make all payments due

25 and owing under the Loan 1674 Note to the order of U.S. Bank National Association, as

26 custodian/trustee for Farmer Mac. Farmer Mac is the holder of the Loan 1674 Note. True and

27 accurate copies of the Loan 1674 Note, amendment and allonge evidencing Farmer Mac’s

28 ownership of the loan are attached hereto as Exhibit F. A&H and ACAP Holdings assigned all

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 1 rights, title and interest in and to Loan 1674 Note and the real property collateral securing Loan

 2 1674 Note as evidenced by those certain Assumption Agreements dated February 2, 2023, true and

 3 accurate copies of which are attached hereto as Exhibit G.

 4                         e.   On or about December 14, 2020, Maricopa, C & A, Willow, Assemi Brothers

 5 and Whitesbridge executed a promissory note in favor of Conterra, evidencing a line of credit

 6 extended to the relevant Borrower Defendants in the original principal amount of $12,500,000 (as

 7 amended, restated or modified from time to time, the “Loan 2676 Note”). Conterra has assigned all

 8 of its rights, title and interest in the Loan 2676 Note to Farmer Mac pursuant to the direction included

 9 in the Loan 2676 Note to the relevant Borrower Defendants to make all payments to the order of

10 U.S. Bank National Association, as custodian/trustee for Farmer Mac. Farmer Mac is the holder of

11 the Loan 2676 Note. True and accurate copies of the note evidencing Farmer Mac’s ownership of

12 the loan are attached hereto as Exhibit H.

13                         f.   On or about December 14, 2020, Maricopa, C & A, Willow, Assemi Brothers

14 and Whitesbridge executed a promissory note in favor of Conterra, evidencing a line of credit

15 extended to the relevant Borrower Defendants in the original principal amount of $12,500,000 (as

16 amended, restated or modified from time to time, the “Loan 2678 Note”). Conterra has assigned all

17 of its rights, title and interest in the Loan 2678 Note to Farmer Mac pursuant to the direction included

18 in the Loan 2678 Note to the relevant Borrower Defendants to make all payments to the order of

19 U.S. Bank National Association, as custodian/trustee for Farmer Mac. True and accurate copies of

20 the note evidencing Farmer Mac’s ownership of the Loan 2678 Note are attached hereto as Exhibit

21 I.

22                         g.   On or about February 2, 2023, Maricopa, Copper, Lincoln, C & A, Willow,

23 Cantua, Gradon and ACAP executed a promissory note in favor of Conterra in the original principal

24 amount of $7,400,000 (as amended, restated or modified from time to time, the “Loan 1004 Note”;

25 and together with the Loan 1725 Note, the Loan 1728 Note, the Loan 1673 Note, the Loan 1674

26 Note, the Loan 2676 Note, and the Loan 2678 Note, the “Farmer Mac Loans”). Conterra has

27 assigned all of its rights, title and interest in the Loan 1004 Note to Farmer Mac pursuant to the

28 direction included in the note to the relevant Borrower Defendants to make all payments to the order

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 1 of U.S. Bank National Association, as custodian/trustee for Farmer Mac. A true and accurate copy

 2 of the Loan 1004 Note evidencing Farmer Mac’s ownership of the loan is attached hereto as Exhibit

 3 J.

 4                  19.   The Farmer Mac Loans each contain cross-default and cross-collateralization

 5 provisions referencing the other of the Farmer Mac Loans.

 6 B.               Farmer Mac Deeds of Trust

 7                  20.   In connection with the Farmer Mac Loans, the Borrower Defendants executed a

 8 series of deeds of trust (as described in further detail herein below and collectively, the “Deeds of

 9 Trust”) pursuant to which the Borrower Defendants granted Farmer Mac an interest in certain real

10 property collateral (collectively, the “Real Property”) located in and around Fresno County,

11 California, Kings County, California, and Kern County, California in order to secure all obligations

12 under the Farmer Mac Loans. Specifically:

13                        a.    The Borrower Defendants’ obligations under the Loan 1725 Note are secured

14 by that certain Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and

15 Fixture Filing dated February 2, 2023, encumbering real property located in Fresno County,

16 California as more particularly described therein and recorded as file no. 2023-0011222 in the

17 Fresno County Recorder, Fresno County, California on February 2, 2023 (the “Loan 1725 DOT”).

18 A true and accurate copy of the Loan 1725 DOT is attached hereto as Exhibit K.

19                        b.    The Borrower Defendants’ obligations under the Loan 1728 Note are secured

20 by that certain Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and

21 Fixture Filing dated February 2, 2023, encumbering real property located in Fresno County,

22 California as more particularly described therein and recorded as file no. 2023-0011223 in the

23 Fresno County Recorder, Fresno County, California on February 2, 2023 (the “Loan 1728 DOT”).

24 A true and accurate copy of the Loan 1728 DOT is attached hereto as Exhibit L.

25                        c.    The Borrower Defendants’ obligations under the Loan 1673 Note are secured

26 by that certain Amended and Restated Deed of Trust (with Future Advances Clause), Security

27 Agreement, Assignment of Rents and Fixture Filing dated February 2, 2023, encumbering real

28 property located in Kings County, California as more particularly described therein and recorded as

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 1 document no. 2303339 in the Kings County Recorder, Kings County, California on March 3, 2023;

 2 and, that certain Amended and Restated Deed of Trust (with Future Advances Clause), Security

 3 Agreement, Assignment of Rents and Fixture Filing dated February 2, 2023, encumbering real

 4 property located in Fresno County, California as more particularly described therein and recorded

 5 as file no. 2023-0011386 in the Fresno County Recorder, Fresno County, California on February 8,

 6 2023 (together, the “Loan 1673 DOTs”). True and accurate copies of the Loan 1673 DOTs are

 7 attached hereto as Exhibit M.

 8                        d.   The Borrower Defendants’ obligations under the Loan 1674 Note are secured

 9 by that certain Amended and Restated Deed of Trust (with Future Advances Clause), Security

10 Agreement, Assignment of Rents and Fixture Filing dated February 2, 2023, encumbering real

11 property located in Kings County, California as more particularly described therein and recorded as

12 document no. 2303340 in the Kings County Recorder, Kings County, California on March 3, 2023;

13 and, that certain Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents

14 and Fixture Filing dated February 2, 2023, encumbering real property located in Fresno County,

15 California as more particularly described therein and recorded as file no. 2023-0011359 in the

16 Fresno County Recorder, Fresno County, California on February 8, 2023 (together, the “Loan 1674

17 DOTs”). True and accurate copies of the Loan 1674 DOTs are attached hereto as Exhibit N.

18                        e.   The Borrower Defendants’ obligations under the Loan 2676 Note and the

19 Loan 2678 Note are secured by that certain Amended and Restated Deed of Trust (with Future

20 Advances Clause), Security Agreement, Assignment of Rents and Fixture Filing dated February 2,

21 2023, encumbering real property located in Kern County, California as more particularly described

22 therein and recorded as document no. 223016523 in the Kern County Official Records, Kern

23 County, California on February 13, 2023 (the “Loan 2676/2678 DOT”). A true and accurate copy

24 of the Loan 2676/2678 DOT is attached hereto as Exhibit O.

25                        f.   The Borrower Defendants’ obligations under the Loan 1004 Note are secured

26 by that certain Deed of Trust, Security Agreement, Assignment of Rents and Fixture Filing dated

27 February 2, 2023, encumbering real property located in Kings County, California as more

28 particularly described therein and recorded as document no. 2301891 in the Kings County Official

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 1 Records, Kings County, California on February 7, 2023; that certain Deed of Trust, Security

 2 Agreement, Assignment of Rents and Fixture Filing dated February 2, 2023, encumbering real

 3 property located in Fresno County, California as more particularly described therein and recorded

 4 as file no. 2023-0010330 in the Fresno County Recorder, Fresno County, California on February 6,

 5 2023; and, that certain Deed of Trust, Security Agreement, Assignment of Rents and Fixture Filing

 6 dated February 2, 2023, encumbering real property located in Kern County, California as more

 7 particularly described therein and recorded as document no. 223013714 in the Kern County Official

 8 Records, Kern County, California (together, the “Loan 1004 DOTs”). True and accurate copies of

 9 the Loan 1004 DOTs are attached hereto as Exhibit P.

10                  21.   In addition to the Real Property, pursuant to Section 19 of each of the Deeds of Trust,

11 the Deeds of Trust “constitute a security agreement within the meaning of the Uniform Commercial

12 Code as adopted by the State of California,” and provide that the Farmer Mac Loans are secured,

13 pursuant to the recital portion of each of the Deeds of Trust, by certain other items of personal

14 property collateral and fixtures, including but not limited to: all buildings, improvements,

15 equipment, fixtures and permanent plantings affixed, attached to or incorporated in the Real

16 Property, all water rights appurtenant to the Real Property (the “Water Rights”), whether such water

17 rights are riparian, appropriative or otherwise, along with all ditch and ditch rights and shares of

18 stock, licenses, permits and contracts evidencing such water or ditch rights appurtenant to the Real

19 Property, and all wells, reservoirs, dams, embankment or fixtures located on the Real Property, all

20 windmills, pumps, irrigation, equipment, motors, engines, and devices of every kind associated with

21 the Real Property (exclusive of the Water Rights, the “Personal Property”; and together with the

22 Water Rights and the Real Property, the “Collateral”).

23                  22.   Farmer Mac’s interest in the Personal Property Collateral and Water Rights was

24 properly perfected by the filing of certain UCC-1 financing statements (the “UCCs”), specifically:

25                        a.     UCC Filing Acknowledgment filed January 31, 2018, with the California

26 Secretary of State, Filing Number 18-7631437101;

27                        b.     UCC recorded January 31, 2018, in the Fresno County Recorder, File No.

28 2018-0011387-00;

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 1                        c.     UCC recorded October 15, 2019, in the Fresno County Recorder, File No.

 2 2019-0123393;

 3                        d.     UCC recorded October 15, 2019, in the Official Records of Kings County,

 4 Document Number 1917425;

 5                        e.     UCC Filing Acknowledgment filed October 16, 2019, with the California

 6 Secretary of State, Filing Number 19-7741674006.

 7                  True and accurate copies of the UCCs and corresponding UCC-1 Continuation Statements

 8 are attached here to as Exhibit Q.

 9 C.               Defaults Under the Farmer Mac Loans

10                  23.   The Borrower Defendants have defaulted under the terms of the Farmer Mac Loans

11 by, inter alia, failing to make payments of outstanding principal and interest as due under the terms

12 of the applicable Farmer Mac Loans, and failing to meet certain non-monetary covenants under the

13 terms of the Farmer Mac Loans (the “Events of Default”). Specifically:

14                        a.     The Borrower Defendants have failed to make payment of accrued interest

15 under the applicable terms of each of the Farmer Mac Loans on or before July 1, 2024, which

16 constitutes an event of default under each of the Farmer Mac Loans;

17                        b.     The Borrower Defendants have failed to make payment of principal amounts

18 due and owing before July 1, 2024, under the applicable terms of the Loan 1725 Note, the Loan

19 1728 Note, the Loan 1674 Note and the Loan 1004 Note, which require the applicable Borrower

20 Defendants to make payment of such principal amounts on or before July 1, 2024, which constitutes

21 an event of default under each such Farmer Mac Loan;

22                        c.     The Borrower Defendants have defaulted under the terms of the Loan 2676

23 Note, the Loan 2678 Note and the Loan 1004 Note by failing to maintain as of the 2023 fiscal year

24 end a debt service coverage ratio of greater than or equal to 1.25:1.00, which constitutes an event of

25 default under each such Farmer Mac Loan;

26                        d.     The Borrower Defendants have defaulted under the terms of the Loan 2676

27 Note, the Loan 2678 Note and the Loan 1004 Note by failing to maintain as of the 2023 fiscal year

28 end a current ratio of not less than 1.50:1.00, which constitutes an event of default under each such

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 1 Farmer Mac Loan; and,

 2                        e.     Finally, each of the Farmer Mac Loans is cross defaulted with each of the

 3 other individual Farmer Mac Loans and, accordingly, each of the Events of Default under the Farmer

 4 Mac Loans and Loan Documents described in subparagraphs (a) through (d) constitutes an event of

 5 default under all Famer Mac Loans.

 6                  24.   On or about September 12, 2024, Farmer Mac provided notice of the Events of

 7 Default to the Borrower Defendants by mailing a Notice of Events of Default and Reservation of

 8 Rights (the “September Notice”). A true and accurate copy of the September Notice is attached

 9 hereto as Exhibit R.

10                  25.   On or about October 16, 2024, Farmer Mac provided notice of the Events of Default

11 to the Borrower Defendants by mailing a Notice of Events of Default and Reservation of Rights (the

12 “October Notice”), notifying the Borrower Defendants of the continuing Events of Default and

13 imposition of the default interest rate under the applicable terms of each of the Farmer Mac Loans.

14 A true and accurate copy of the October Notice is attached hereto as Exhibit S.

15                  26.   Following notice to the Borrower Defendants of the Events of Default under Section

16 23 of each of the Deeds of Trust, Famer Mac is entitled to, inter alia, seek to collect rents and profits

17 from Real Property, and “shall be entitled to have a receiver appointed to take possession of and

18 manage the [Real] Property and collect the Rents and profits derived from the [Real] Property . . .”

19 D.               Borrower Defendants’ Failure to Maintain Real Property

20                  27.   Upon information and belief, the Borrower Defendants are without resources,

21 monetary or otherwise, sufficient to maintain the Real Property.

22                  28.   Upon information and belief, the Real Property requires regular maintenance,

23 including watering and spraying which necessitate significant inputs of manpower, water,

24 chemicals, and other materials, none of which are within the Borrower Defendants’ current capacity

25 to fund.

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 1                  29.   In light of the Borrower Defendants’ inability to finance the continued maintenance

 2 of the Real Property, the Real Property is in imminent danger of loss, deterioration, and diminution

 3 in value. Given the Real Property’s significance to the ability of the Borrower Defendants to repay

 4 the Famer Mac Loans, Farmer Mac is at serious risk of material losses and injuries.

 5                  30.   Farmer Mac has the right, pursuant to the Deeds of Trust, Farmer Mac Loans and

 6 applicable law, to the appointment of a receiver.               Farmer Mac is entitled to the immediate

 7 appointment of a receiver to take possession of and hold, manage, or dispose of, subject to the

 8 direction of this Court, the Real Property, its revenue, and all other Collateral located on or affixed

 9 to the Real Property that secures the Farmer Mac Loans.

10                  31.   The Borrower Defendants intend to cooperate with Farmer Mac and have consented

11 to the appointment of a receiver over the Real Property pursuant to their agreement with Farmer

12 Mac on the terms of an agreed upon form of order appointing a receiver, to be filed substantially

13 contemporaneously herewith or as soon as reasonably practicable thereafter.

14                  32.   Farmer Mac intends to cooperate with other lenders, including but not limited to

15 Prudential Life Insurance Company, on the funding of a receiver to maintain the Real Property, as

16 the Real Property securing the Farmer Mac Loans is intermingled with real property collateral of

17 other lenders to the Borrower Defendants.

18                                           FIRST CAUSE OF ACTION
                                                (Breach of Contract)
19

20                  33.   Plaintiff repeats and realleges paragraphs 1 through 32 as if fully set forth herein.
21                  34.   Plaintiff is the lawful holder of the Farmer Mac Loans and beneficiary under the
22 Deeds of Trust.

23                  35.   As set forth above, the Farmer Mac Loans require the Borrower Defendants to make
24 payment of accrued interest under the applicable terms of each of the Farmer Mac Loans on or

25 before July 1, 2024. The Borrower Defendants have failed to make such payments of accrued

26 interest on or before July 1, 2024, as required under the terms of the Farmer Mac Loans.

27                  36.   As set forth above, applicable terms of the Loan 1725 Note, the Loan 1728 Note, the
28 Loan 1674 Note and the Loan 1004 Note require the applicable Borrower Defendants to make

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 1 payment of outstanding principal amounts on or before July 1, 2024. The applicable Borrower

 2 Defendants have failed to make such payments of outstanding principal on or before July 1, 2024,

 3 as required by the relevant Farmer Mac Loans.

 4                  37.   As set forth above, the relevant Borrower Defendants have defaulted under the terms

 5 of the Loan 2676 Note, the Loan 2678 Note and the Loan 1004 Note by failing to maintain as of the

 6 2023 fiscal year end a debt service coverage ratio of greater than or equal to 1.25:1.00, and have

 7 defaulted under the terms of the Loan 2676 Note, the Loan 2678 Note and the Loan 1004 Note by

 8 failing to maintain as of the 2023 fiscal year end a current ratio of not less than 1.50:1.00, as required

 9 by each of the relevant Farmer Mac Loans.

10                  38.   The Borrower Defendants have breached the terms of the Farmer Mac Loans by,

11 inter alia, failing to make payment of all outstanding principal and interest by July 1, 2024, and

12 failing to meet certain financial covenants under the relevant Farmer Mac Loans.

13                  39.   Farmer Mac duly notified the Borrower Defendants of the Events of Default via the

14 September Notice and October Notice, and the Borrower Defendants have failed to cure such Events

15 of Default, and all applicable cure periods, if any, have expired or are mooted by the Borrower

16 Defendants’ consent to the appointment of a receiver as requested herein and described in Paragraph

17 31 hereof.

18                  40.   As a direct and proximate result of the Borrower Defendants’ breach of the Farmer

19 Mac Loans, Plaintiff has suffered damages in an amount to be determined at trial, but in any event

20 no less than $41,833,201.59; including (i) unpaid principal; (ii) unpaid accrued interest; (iii) late

21 charges; (iv) fees, costs, and other charges (including legal fees and costs) to which Plaintiff is

22 entitled under the governing documents through the date of judgment; and (v) pre-judgment and

23 post-judgment interest at the rate provided by law.

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 1                                        SECOND CAUSE OF ACTION
                          (Appointment of Receiver, Accounting, and Specific Performance)
 2

 3                  41.   Plaintiff repeats and realleges paragraphs 1 through 40 as if fully set forth herein.
 4                  42.   The Borrower Defendants have breached the terms of the Farmer Mac Loans by,
 5 inter alia, failing to make payment of all outstanding principal and interest by July 1, 2024, and

 6 failing to meet certain financial covenants under the relevant Farmer Mac Loans.

 7                  43.   Farmer Mac duly notified the Borrower Defendants of the Events of Default via the
 8 September Notice and October Notice, and the Borrower Defendants have failed to cure such Events

 9 of Default, and all applicable cure periods, if any, have expired or are mooted by the Borrower

10 Defendants’ consent to the appointment of a receiver as requested herein described in Paragraph 31

11 hereof.

12                  44.   Pursuant to Section 23 of each of the Deeds of Trust, Plaintiff is entitled to the
13 appointment of a receiver in light of the Events of Default and proper notice to the Borrower

14 Defendants.

15                  45    Due to the Borrower Defendants’ default, there is risk of immediate and irreparable
16 harm to the Real Property and real and irreparable harm to Farmer Mac through the diminution in

17 value of its Collateral.

18                  46.   The immediate appointment of a receiver is necessary to preserve the value of the
19 Real Property, and Collateral generally, and to protect the Real Property from value destructive

20 irreparable harm.

21                  47.   Plaintiff has no adequate remedy at law to enforce the Farmer Mac Loans as set forth
22 herein and will suffer irreparable harm unless equitable relief is granted and a receiver is appointed

23 to manage, operate, and control the Real Property and Collateral generally.

24                  48.   A receiver should be appointed, pursuant to, inter alia, Fed. R. Civ. P. 66, with the
25 powers and duties of a court-appointed receiver, including the power to bring and defend actions in

26 his own name as receiver, to take and keep possession of the Real Property, to receive rents and any

27 profits, collect debts, to make transfers, to sell the Real Property through private sale or at public

28 auction and generally take such actions respecting the Real Property as the Court may authorize

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 1 pending any future foreclosure under the Deeds of Trust.

 2                  49.   Plaintiff has met the requirements for appointment of a receiver, and a receiver is

 3 necessary to protect the Real Property. The Borrower has consented to the appointment of a receiver

 4 as described in Paragraph 31 hereof and Plaintiff is entitled to the immediate appointment of a

 5 receiver pursuant to the Court’s equitable authority, the Loan Documents, and applicable law.

 6                                          THIRD CAUSE OF ACTION
                                    (For Injunctive Relief Against All Defendants)
 7

 8                  50.   Plaintiff repeats and realleges paragraphs 1 through 49 as if fully set forth herein.
 9                  51.   To enable the receiver to properly and effectively carry out the specific and general
10 duties and powers, and to prevent Plaintiff from suffering irreparable harm and irreparable injury,

11 Plaintiff seeks a preliminary injunction and permanent injunction enjoining Borrower Defendants

12 and their agents, partners, property managers, employees, officers, directors, affiliates, assigned

13 successors, representatives, and all persons acting under, in concert with or for them, from:

14                        a.     Committing or permitting any waste on the Real Property or any part thereof,
15 or suffering or committing or permitting any act on the Real Property or any part thereof in violation

16 of law, or removing or otherwise disposing of any of the Real Property or the fixtures presently on

17 the Real Property, or any part thereof;

18                        b.     Demanding, collecting, receiving, discounting, or in any other way diverting
19 or using any of the rents and any profits from the Real Property;

20                        c.     Directly or indirectly interfering in any manner with the discharge of the
21 receiver’s duties or the receiver’s possession of and operation or management of the Real Property;

22 and,

23                        d.     Doing any act which will, or which will tend to impair, defeat, divert, prevent,
24 or prejudice the preservation of the Real Property, including the rents, or any amounts due and owing

25 to the Borrower Defendants with respect to the Real Property, and any profits, or the preservation

26 of Plaintiff’s interest in the Real Property.

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 1                                             PRAYER FOR RELIEF

 2                  WHEREFORE Plaintiff requests the following relief against all Borrower Defendants as

 3 follows:

 4                  1.    That the Court enter judgment against Borrower Defendants for amounts owed

 5 through the date of judgment in an amount to be determined at trial, but in any event no less than

 6 the cumulative amount under the Farmer Mac loans of $41,833,201.59, including (i) $37,604,067.25

 7 in unpaid principal;(ii) $3,811,973.24 in unpaid accrued interest; (iii) $294,161.10 in late charges;

 8 (iv) fees, costs, and other charges (including legal fees and costs) to which Plaintiff is entitled under

 9 the governing documents through the date of judgment and which may be determined at trial; and

10 (v) pre-judgment and post-judgment interest at the rate provided by law;

11                  2.    That the Court enforce the provisions of California Code of Civil Procedure Section

12 564(a) 564(b)(2), 564(b)(9), and 564(b)(11) by specifically enforcing the assignment of rents

13 clauses and Farmer Mac’s express entitlement to the appointment of a receiver in the Deeds of Trust,

14 and appoint a receiver to bring and defend actions in his or her own name as receiver, to take and

15 keep possession of the Real Property, to receive rents, collect debts, to compound for and

16 compromise the same, to make transfers, to sell the Real Property by private sale or public auction,

17 and generally to do such acts respecting the Real Property as the Court may authorize pending the

18 forthcoming foreclosure under the Deeds of Trust;

19                  3.     That the Court enter an order directing that the Borrower Defendants:

20                        A.     Shall relinquish and turn over possession of the Real Property and all

21 Collateral to the receiver upon his or her appointment becoming effective;

22                        B.     Shall turn over to the receiver and direct all property managers and other third

23 parties in possession thereof to turn over all keys, leases, books, records, books of account, ledgers,

24 operating statements, budgets, real estate tax bills and all other business records relating to the Real

25 Property or Personal Property Collateral, wherever located, and in whatever mode maintained,

26 including information contained on computers and any and all software relating thereto as well as

27 all banking records, statements, and canceled checks;

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 1                        C.     Shall turn over to the receiver all documents which pertain to all licenses,

 2 permits, or government approvals relating to the Real Property, or Personal Property Collateral, and

 3 shall immediately advise the receiver of their Federal Taxpayer Identification Numbers used in

 4 connection with the operation of the Real Property;

 5                        D.     Shall immediately advise the receiver as to the nature and extent of insurance

 6 coverage on the Real Property and Personal Property Collateral. Borrower Defendants shall

 7 immediately name the receiver as an additional insured on the insurance policy (or if multiple,

 8 insurance policies) for the period that the receiver shall be in possession of the Real Property and

 9 Personal Property Collateral. Borrower Defendants shall be prohibited from cancelling, reducing,

10 or modifying any and all insurance coverage currently in existence with respect to the Real Property;

11 and,

12                        E.     Shall immediately turn over to the receiver any monies (including but not

13 limited to, security deposits, prepaid rent, or funds in property management bank accounts for the

14 Real Property) which represent net rental or lease payments with respect to the Real Property. Any

15 tenants occupying, using, or leasing the Real Property, or any portion thereof, and any parties owing

16 funds to Borrower Defendants as a result of the Real Property shall make payment to the receiver.

17                  4.    That the Court enter an order for an accounting by the Borrower Defendants of any

18 rents from the Real Property, and any profits;

19                  5.    That the Court enter a preliminary injunction and permanent injunction enjoining

20 Borrower Defendants and their agents, partners, property managers, employes, officers, directors,

21 affiliates, assignees, successors, and representative and all persons acting under, in concert with, or

22 for them, from:

23                        A.     Committing or permitting any waste on the Real Property or Personal

24 Property Collateral or any part thereof, or suffering or committing or permitting any act on the Real

25 Property or any part thereof in violation of law, or removing or otherwise disposing of any of the

26 Real Property or the fixtures presently on the Real Property, or any part thereof;

27                        B.     Demanding, collecting, receiving, discounting, or in any other way diverting

28 or using any of the rents and any profits from the Real Property;

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 1                        C.     Directly or indirectly interfering in any manner with the discharge of the

 2 receiver’s duties or the receiver’s possession of and operation or management of the Real Property;

 3 and,

 4                        D.     Doing any act which will, or which will tend to impair, defeat, divert, prevent,

 5 or prejudice the preservation of the Real Property, including the rents, or any amounts due and owing

 6 to the Borrower Defendants with respect to the Real Property, and any profits, or the preservation

 7 of Plaintiff’s interest in the Real Property.

 8                  6.    That the Court award to Farmer Mac costs incurred in connection with collection of

 9 monies owed under the Farmer Mac Loans, including but not limited to the costs of this complaint;

10 for attorneys’ fees incurred in connection with this action; and,

11                  7.    For such other relief as the Court may deem just and proper.

12 Dated: November 27, 2024                                WHITNEY, THOMPSON & JEFFCOACH LLP

13

14
                                                     By:
15                                                                     Marshall C. Whitney
                                                            Attorneys for Federal Agricultural Mortgage
16                                                                          Corporation
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 LLC, Gradon Farms, LLC, Cantua Orchards,
 LLC, Copper Avenue Investments, LLC, Lincoln
 Grantor Farms, LLC, ACAP Farms, LLC and
 Maricopa Orchards, LLC


each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
separate mortgage, deed of trust, or security deed (the "Other Security Instmments"). It is agreed that in addition to
Borrower's Note, this Security Instrument secures the obligations, debts, and liabilities evidenced by the Other
Notes and Other Security Instruments referenced herein, plus interest thereon, which is payable by Grantor to
Lender and/or Federal Agricultural Mortgage Corporation.



BY SIGNING BELOW, Borrower accepts and agrees to the tcnns and covenants contained in this Cross
Collateralization Rider.


                        California limited liability                       Farms, LLC,
                                                                           mited liability company


Farid Asscmi, General Manage,                                                 General Manager
                                                                                                          /Sign Originals Only/




Farmer Mac Cross-Collatcralization Rider
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C & A Farms, LLC, Willow Avenue Investments,                02/2/2023                      $7,400,000.00/REDACTED1004
LLC, Gradon Farms, LLC, Cantua Orchards,
LLC, Coppel' A venue Investments, LLC, Lincoln
Grantor Farms, LLC, ACAP Farms, LLC and
Maricopa Orchards, LLC


each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
separate mortgage, deed oftrnst, or security deed (the "Other Security Instruments"). It is agreed that any default under
this Security Instrument or this Note shall be deemed a default under the Other Notes and Other Security Instruments;
and any default under any or all ofthe Other Notes or Other Security Instruments shall be deemed to be a default under
this Note and this Security Instrument.

BY STGNTNG BELOW, Borrower accepts and agrees to the terms and covenants contained in this Cross Default Rider.


                    , a California limited liability           Whitesbridge F ·ms, LLC,
                                                               a Cali   ia Ii i e liability company
                                                                        ;tJ ..         �
                                                                                   "
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FARMER MAC MULTJSTATE CROSS DEFAULT RIDER
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  C & A Farms, LLC, Willow Avenue Investments,              02/2/2023                  $7,400,000.00/          1004
                                                                                                         REDACTED


  LLC, Gradon Farms, LLC, Cantua Orchards,
  LLC, Copper Avenue Investments, LLC, Lincoln
  Grantor Farms, LLC, ACAP Farms, LLC and
  Maricopa Orchards, LLC


 each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
 separate mortgage, deed of trust, or security deed (the "Other Security Instruments"). It is agreed that in addition lo
 Borrower's Note, this Security Instrument secures the obligations, debts, and liabilities evidenced by the Other
 Notes and Other Security Instruments referenced herein, plus interest thereon, which is payable by Grantor to
 Lender and/or Federal Agricultural Mortgage Corporation.



 BY SJGNlNG BELOW, Borrower accepts and agrees to the terms and covenants contained in this Cross
 Collateralization Rider.

                                                              Whitesbri( ge Farms, LLC,
 C      • C ,IUornia limit<d lfabUity                         aC     ·n li ited liability company
 corn
   �  ·                                                          �r�        �

                                            ----              Ncema Ass• 1i, General Manager
 Farid Assemi, General Manager
                                                                                                            /Sign Originals 011/y/




 Farmer Mac Cross-Coltatcralization Rider
                                                                                C,PcirsonPuttcrson, LLP.-/\rlington, Texas 2016
                                                                                        1537050917 [Doc Id 2448 MO! 222014]
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                                                                       REDACTED




                                                            REDACTED




                                                           REDACTED




                                                           REDACTED


                                                           REDACTED




                                                            REDACTED
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 C & A Farms, LLC, Willow Avenue Investments,                02/2/2023                $7,400,000.00/REDACTED1004
 LLC, Gradon Farms, LLC, Cantua Orchards,
 LLC, Copper Avenue Investments, LLC, Lincoln
 Grantor Farms, LLC, ACAP Farms, LLC and
 Maricopa Orchards, LLC


 each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
 separate mortgage, deed of trust, or security deed (the "Other Security lnstrnments"). It is agreed that any default under
 this Security Instrument or this Note shall be deemed a default under the Other Notes and Other Security lnstrnments;
 and any default under any or all of the Other Notes or Other Security Instruments shall be deemed lo be a default under
 this Nole and this Security Instrument.

 BY SIGNING BELOW, Borrower accepts and agrees to the 1em1s and covenants contained in this Cross Default Rider.


 C


                                                                                  'eneral Manager
 Farid Asseml, General Manager
                                                                                                             /Sign Originals 011/y]




 FARMER MAC MULTISTATE CROSS DEFAULT RJDER
                                                         2                        ©PeirsonPattcrson, LLP.-Arlington, Texas 2016
                                                                                         1538050917 [Doc Id 2424 MOl 142014]
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            Exhibit D
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                                                                   REDACTED
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                                  CROSS DEFAULT RIDER
                                                                                                     Loan #           1673
                                                                                                                REDACTED




          THIS CROSS DEFAULT RIDER is made this rC'{)(\J{).�           _h,  2023, and is incorporated into and
shall be deemed to amend and supplement the amended and restated ortgage, Deed of Trust, or Security Deed
(the "Security Instrument") of the same date, given by the undersigned Borrower and Grantors to secure a Note to
U.S. Bank NationalAssociation, as Custodian/Trustee for Federal Agricultural Mortgage Corporation
programs (the "Lender") dated October 11, 2019 and covering the Property described in the Security Instrument
and located                                  1,110 +/-Acres
                                     Kings County and Fresno County, California
                                             [Property Address)

In addition to the covenants and agreements made in the Security Instrument, Borrowers, Grantors and Lender
further covenant and agree that on the date hereof the following other loans have been sold to Federal Agricultural
Mortgage Corporation:

 Grantors/Borrowcrs Names                                Date                     Loan Amount/Loan No.
Copper Avenue Investments, LLC, ACAP Farms, LLC,                                  $10,258,632.00/        1674
                                                                                                  REDACTED


Grndon Farms, LLC, Lincoln Grantor Farms,                10/11/2019
LLC, Maricopa Orchards, LLC & Cantua Orchards, LLC
                                                         01/08/2018               $5,500,000.00/         1725
                                                                                                   REDACTED

 C&A Farms, LLC & Whitebridgc Farms, LLC
                                                         01/08/2018               $1,500,000.00/         1728
                                                                                                   REDACTED

 C&A Farms, LLC & Whitebridge Farms, LLC
                                                         12/14/2020               $12,500,000.00/             2676
                                                                                                    REDACTED

 Assemi Brothers, LLC, C&A Farms, LLC,
 Whitebridgc Fnm1s, LLC, Maricopa Orchards,
 LLC & Willow Avenue Investments, LLC

                                                                                  $12,500,000.00/             2678
                                                                                                    REDACTED

 Asscmi Brothers, LLC, C&A Farms, LLC,                   12/14/2020
 Whitcbridgc Farms, LLC, Maricopa Orchards,
 LLC & Willow Avenue Investments, LLC
                                                                                    $7,400,000.00/            1004
                                                                                                     REDACTED

 C & A Farms, LLC, Willow Avenue [nvestments,            2/2/2023
 LLC, Gradon Farms, LLC, Cantua Orchards, LLC,
 Copper Avenue [nvcstments, LLC, Lincoln Grantor
 Farms, LLC, ACAP Farms, LLC and Maricopa
 Orchards, LLC
each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
separate mortgage, deed of trust, or security deed (the "Other Security Instruments"). It is agreed that any default
w1der this Security Instrument or this Note shall be deemed a default under the Other Notes and Other Security
lnstruments; and any default under any or all of the Other Notes or Other Security Instruments shall be deemed to be
a default under this Note and this Security Instrument.

BY SIGNING BELOW, Borrowers and Grantors accept and agree to the terms and covenants contained in this
Crass Dcvrnh Bi
FARMER MAC MULTISTATECROSS DEFAULT RIDER             1
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            Exhibit E
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             Exhibit F
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                       CROSS COLLATERALIZATION RIDER
                                                                                                     Loan                   1674
                                                                                                                 REDACTED




           H
         TIS CROSS COLLATERALIZATION RIDER is made this                 H� �                 2023, and is
incorporated into and shall be deemed to amend and supplement the am'endedanestated Amended and Restated
Open-End Deed of Trust, Security Agreement, Assignment of Rents and Fixture Filing (the "Security Instrument")
of the same date, given by the undersigned Borrowers and Grantors to secure a Note to U.S. Bank National
Association, as Custodian/Trustee for Federal Agricultural Mortgage Corporation programs (the "Lender")
dated October I I, 2019 and covering the Property described in the Security Instrument and located at:

                                                  1,110 +/- Acres
                                    Kings County and Fresno County, California
                                                 [Property Address]

ln addition to the covenants and agreements made in the Security Instrument, Borrowers, Grantors, and Lender further
covenant and agree that on the date hereof the following other loans have been sold to Federal Agricultural Mortgage
Corporation:
   Borrowcrs/Grantors Names                               Date                        Loan Amount/Loan No.
Copper    Avenue     Investments, LLC,     ACAP Farms,
                                                          10/11/2019                  SS,297,232.00/REDACTED
                                                                                                          1673
LLC, Gradon Farms, LLC & Lincoln Grantor Farms, LLC,
Maricopa Oreb
            . ards, LLC & Cantua Orcb:uds, LLC
                                                          01/08/2018                 $5,500,000.00/         1725
                                                                                                      REDACTED

C&A Farms, LLC & Whitebridge Farms, LLC

                                                          01/08/2018                 $1,500,000.00/         1728
                                                                                                     REDACTED

C&A Farms, LLC & Wbitcbridge Farms, LLC

                                                          12/14/2020                 $12,500,000.00/             2676
                                                                                                       REDACTED

Asseml Brothers, LLC, C&A Farms, LLC,
Whitebridge Farms, LLC, Maricopa Orchards, LLC
& Willow Avenue Investments, LLC

Assemi Brothers, LLC, C&A Farms, LLC,                     12/14/2020                 $12,500,000.00/             2678
                                                                                                       REDACTED


Whitebrldge Farms, LLC, Maricopa Orchards, LLC
& Willow Avenue Investments, LLC

C & A Farms, LLC, Willow Avenue Investments, LLC,
                                                                                      $7,400,000.00/         1004
                                                                                                       REDACTED

Gradon Farms, LLC, Cantua Orchards, LLC, Copper          2/2/2023
Avenue Investments, LLC, Lincoln Grantor Farms,
LLC, ACAP Farms, LLC and Maricopa Orchards,
LLC
each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
separate mortgage, deed of trust, or security deed (the "Other Security Instruments"). It is agreed that in addition to
the Note, this Security Instrument secures the obligations, debts, and liabilities evidenced by the Other Notes and
Other Security Instruments referenced herein, plus interest thereon, which is payable to Lender and/or Federal
Agricultural Mortgage Corporation.

BY SIGNING BELOW, Borrowers and Grantors accept and agree to the terms and covenants contained in this Cross
Collateralization Rider.


Farmer Mac Cross-Collaterallzadon Rider
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                                   CROSS DEFAULT RIDER
                                                                                                   Loan REDACTED1674


         THIS CROSS DEFAULT RIDER is made this
                                                         --        _2_, 2023, and is incorporated into and shall
be deemed to amend and supplement the amended and res d ortgage, Deed of Trust, or Security Deed (the
"Security Instrument") of the same date, given by the undersigned Borrower and Grantors to secure a Note to U.S.
Bank National Association, as Custodian/Trustee for Federal Agricultural Mortgage Corporation programs
(the "Lender") dated October 11, 2019 and covering the Property described in the Security Instrument and located
at:                                          1,110 +/- Acres
                                   Kings County and Fresno County, California
                                             [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrowers, Grantors and Lender
further covenant and agree that on the date hereof the following other loans have been sold to Federal Agricultural
Mortgage Corporation:

 Grantors/Borrowcrs Names                               Date                      Loan Amount/Loan No.
Copper Avenue Investments, LLC, ACAP Farms, LLC,                                 $5,297,232.00/REDACTED1673
Gradon Farms, LLC, Lincoln Grnntor Farms,               10/11/2019
LLC, Mllrtcopa Orchards, LLC & Cantua Orchards, LLC
C&A Farms, LLC & Whitebridge Farms, LLC
                                                        01/08/2018               $5,500,000.00/REDACTED1725

C&A Farms, LLC & Whitebridge Farms, LLC                 01/08/2018               $) ,500,000.00/REDACTED1728

Asscmi Brothers, LLC, C&A Farms, LLC, Whitcbridgc       12/14/2020               $12,500,000.0 REDACTED2676
Farms, LLC, Maricopa Orchards, LLC & Willow
Avenue Investments, LLC

Asscmi Brothers, LLC, C&A Farms, LLC, Whitebridge                                $12,500,000.00/REDACTED2678
Farms, LLC, Maricopa Orchards, LLC & Willow             12/14/2020
Avenue Investments, LLC

C & A Farms, LLC, Willow Avenue Investments, LLC,      21212023                    $7,400,000.00/REDACTED1004
Gradon Farms, LLC, Cantua Orchards, LLC, Copper
Avenue Investments, LLC, Lincoln Grantor Farms,
LLC, ACAP Farms, LLC and Maricopa Orchar. ds, LLC
each of which is evidenced by a separate promissory note (the "Other Notes"), and each of which is secured by a
separate mortgage, deed of trust, or security deed (the "Other Security Instruments"). It is agreed that any default
under this Security Instrument or this Note shall be deemed a default under the Other Notes and Other Security
Instruments; and any default under any or all of the Other Notes or Other Security Instruments shall be deemed to be
a default under this Note and this Security Instrument.

BY SIGNING BELOW, Borrowers and Grantors accept and agree to the terms and covenants contained in this Cross
Default Rider.
FARMER MAC MULTISTATE CROSS DEFAULT RIDER
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            Exhibit G
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            Exhibit H
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                                   CROSS DEFAULT RIDER
                                                                                                        RE:          2676
                                                                                                               REDACTED




         1lilS CROSS DEFAULT RIDER is made this -=�.:-.::,:.c.,uw...L, 2023, and is incorporated into and shall be
deemed to amend and supplement the amended and restated Mortga e, Deed of Trust, or Security Deed (the "Security
Instrument'') of the same date, given by the undersigned Borrowers and Grantors to secure a Note to U.S. Bank National
Association, as Custodian/frustee for Federal Agricultural Mortgage Corporation programs (the "Lender") dated
January 8, 2018 and covering the Property described in the Security Instrument and located at:

                                               2,915.23 +/- Acres
                                             Kern County, California
                                                 [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrower and Lender further covenant and
agree that on the date hereof the following other loans have been sold to Federal Agricultural Mortgage Corporation:

Borrowers/Co-Signers' Names                                                      Loan Amount/Loan No.

Copper Avenue Investments, LLC, ACAP                   10/11/2019                Sl 0,258,632.00/REDACTED1674
Farms, LLC, Gradon Farms, LLC, Lincoln
Grantor Farms, LLC, Maricopa Orchards, LLC
& Cantua Orchards, LLC
Copper Avenue Investments, LLC, ACAP                   10/11/2019                SS,297,232.00/REDACTED1673
Farms, LLC, Gradon Farms, LLC, Lincoln
Grantor Farms, LLC, Maricopa Orchards, LLC
& Cantua Orchards, LLC
C&A Farms, LLC & Whitebridge Farms, LLC                01/08/2018                SS,500,000.00/          1725
                                                                                                   REDACTED


C&A Farms, LLC & Whitebridge Farms, LLC                1/08/2018                 Sl.500,000.00/          1728
                                                                                                   REDACTED


Assemi Brothers, LLC, C&A Farms, LLC,                  12/14/2020                $12,S00,000.00/          2678
                                                                                                    REDACTED


Wbitebridge Farms, LLC, Maricopa Orchards,
LLC & Willow Avenue Investments, LLC

C & A Farms, LLC, Willow Avenue Investments,           2/2/2023                   $7,400,000.00/         1004
                                                                                                   REDACTED


LLC, Gradon Farms, LLC, Cantua Orchards,
LLC, Copper Avenue Investments, LLC, Lincoln
Grantor Farms, LLC, ACAP Farms, LLC and
Maricopa Orchards, LLC

FARMER MAC MULTISTATE CROSS DEFAULT RIDER
                                                                              0PeirsooPatterson, LLP.-Arlington, Texas 2016
                                                                                      1538050917 [Doc Id 2424 M0l 142014]
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                        CROSS COLLATERALIZATION RIDER
                                                                                                     RE:       2676
                                                                                                            REDACTED



          THIS CROSS COLLATERALIZATION RIDER is made this            (eJ,,  tJAf'I, 2-_, 2023, and is incorporated into
and shall be deemed to amend and supplement the amended and restated Mortgage, Deed of Trust, or Security Deed (the
"Security Instrument'') ofthe same date, given by the undersigned Borrowers and Grantors to secure a Note to U.S. Bank
National Association, as Custodian/frustee for Federal Agricultural Mortgage Corporation programs {the "Lender'')
dated January 8, 2018 and covering the Property described in the Security Instrument and located at:

                                       350.37 Acres Devoted to an Almond Orchard
                                                   Fresno County, CA
                                                    [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrower Parties further covenant and
agree that on the date hereof the following other loans have been sold to Federal Agricultural Mortgage Corporation:

 Borrowers/Co-Signers' Names                              Date                      Loan Amount/Loan No.

 Copper Avenue Investments, LLC, ACAP Farms, 10/11/2019                             10,258,632.00/          1674
                                                                                                     REDACTED



 LLC, Gradon Farms, LLC, Lincoln Grantor
 Farms, LLC, Maricopa Orchards, LLC &
 Cantua Orchards, LLC
 Copper Avenue Investments, LLC, ACAP Farms, 10/11/2019                             $5.297.232.00 /         1673
                                                                                                      REDACTED



 LLC, Gradon Farms, LLC, Lincoln Grantor
 Farms, LLC, Maricopa Orchards, LLC &
 Cantua Orchards, LLC
 C&A Farms, LLC & Whitebridge Farms, LLC     01/08/2018                             $5,500,000.00/         1725
                                                                                                     REDACTED



 C&A Farms, LLC & Whitebridgc Farms, LLC     1/08/2018                              $1,500,000.00/         1728
                                                                                                     REDACTED



 Assemi Brothers, LLC, C&A Farms, LLC,       12/14/2020                             $12,500,000.00/         2678
                                                                                                       REDACTED



 Whitebridge Farms, LLC, Maricopa Orchards,
 LLC & Willow Avenue Investments, LLC

 C & A Farms, LLC, Willow Avenue Investments,             2/2/2023                  $7,400,000.00/         1004
                                                                                                     REDACTED



 LLC, Gradon Farms, LLC, Cantua Orchards,
 LLC, Copper Avenue Investments, LLC, Lincoln
 Grantor Farms, LLC, ACAP Farms, LLC and
 Maricopa Orchards, LLC

Fanner Mac Cross-Collateraliz.ation Rider
                                                                              0PcirsonPanerson, LLP.-Arlington, Texas 2016
                                                                                     153 7050917 (Doc Id 2448 MO 1222014]
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                        CROSS COLLATERALIZATION RIDER

                                                                                  rt
                                                                                                    RE:        2678
                                                                                                             REDACTED



          TIITS CROSS COLLATERALIZATION RIDER is made this ftj,r,>o                    2-, 2023, and is incorporated
into and shall be deemed to amend and supplement the amended and restated Mortgag , Deed of Trust, or Security Deed
(the "Security Instrument") of the same date, given by the undersigned Borrowers and Grantors to secure a Note to U.S.
Bank National Association, as Custodian/frustee for Federal Agricultural Mortgage Corporation programs (the
"Lender") dated January 8, 2018 and covering the Property described in the Security Instrument and located at:

                                      350.37 Acres Devoted to an Almond Orchard
                                                  Fresno County, CA
                                                   [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrower Parties further covenant and
agree that on the date hereof the following other loans have been sold to Federal Agricultural Mortgage Corporation:

 Borrowers/Co-Signers' Names                             Date                       Loan Amount/Loan No.

 Copper Avenue Investments, LLC, ACAP Farms,             10/11/2019                  10,258,632.00/         1674
                                                                                                      REDACTED



 LLC, Gradon Fa. rms, LLC, Lincoln Grantor
 Farms, LLC, Maricopa Orchards, LLC &
 Cantua Orchards, LLC
 Copper Avenue Investments, LLC, ACAP Farms,             10/11/2019                 SS.297,232.00 /          1673
                                                                                                       REDACTED



 LLC, Gradon Farms, LLC, Lincoln Grantor
 Farms, LLC, Maricopa Orchards, LLC &
 Cantua Orchards, LLC
 C&A Farms, LLC & Whitebridge Farms, LLC                 01/08/2018                 SS,S00,000.00/REDACTED1725
                                                                                                      REDACTED



 C&A Farms, LLC & Whitebridge Farms, LLC                 1/08/2018                  $1.S00,000.00/ REDACTED
                                                                                                         1728
 Assemi Brothers, LLC, C&A Farms, LLC,                   12/14/2020                 $12,5001000.00/        2676
 Whitebridge Farms, LLC, Maricopa Orchards,
 LLC & Willow Avenue Investments, LLC

 C & A Farms, LLC, Willow Avenue Investments,            2/2/2023                   $7,400,000.00/          1004
                                                                                                      REDACTED



 LLC, Gradon Farms, LLC, Cantua Orchards,
 LLC, Copper Avenue Investments, LLC, Lincoln
 Grantor Farms, LLC, ACAP Farms, LLC and
 Maricopa Orchards, LLC

Farmer Mac Cross-Collalerallzatlon Rider
                                                                              OPeirsonPattersoo, LLP.-ArlingtOn, Texas 2016
                                                                                      1537050917 [Doc Id 2448 M01222014]
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                                   CROSS DEFAULT RIDER
                                                                                                          RE:           2678
                                                                                                                  REDACTED




         THIS CROSS DEFAULT RJDER is made this _a���:,:_                 _a_, 2023, and is incorporated into and shall be
deemed to amend and supplement the amended and restated Mortg e, Deed of Trust, or Security Deed (the "Security
Instrument'') of the same date, given by the undersigned Borrowers and Grantors to secure a Note to U.S. Bank National
Association, as Custodian/frustee for Federal Agricultural Mortgage Corporation programs (the "Lender") dated
January 8, 2018 and covering the Property described in the Security Instrument and located at:

                                                 2,915.23 +/- Acres
                                              Kern County, California
                                                 [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrower and Lender further covenant and
agree that on the date hereof the following other loans have been sold to Federal Agricultural Mortgage Corporation:

Borrowers/Co-Signers' Names                              Date                      Loan Amount/Loan No.

Copper Avenue Investments, LLC, ACAP                     10/11/2019                Sl0,258,632.00/              1674
                                                                                                      REDACTED



Farms, LLC, Gradon Farms, LLC, Lincoln
Grantor Farms, LLC, Maricopa Orchards, LLC
& Cantua Orchards, LLC
Copper Avenue Investments, LLC, ACAP                     10/11/2019                $5,297,232.00/          1673
                                                                                                     REDACTED



Farms, LLC, Gradon Farms, LLC, Lincoln
Grantor Farms, LLC, Maricopa Orchards, LLC
& Cantua Orchards, LLC
C&A Farms, LLC & Whitebridge Farms, LLC                  01/08/2018                $5,500,000.00/          1725
                                                                                                     REDACTED



C&A Farms, LLC & Whitebridge Farms, LLC                  1/08/2018                 $1,500,000.00/          1728
                                                                                                     REDACTED



Assemi Brothers, LLC, C&A Farms, LLC,                    12/14/2020                $12,500,000.00/          2676
                                                                                                      REDACTED



Wbitebridge Farms, LLC, Maricopa Orchards,
LLC & Willow Avenue Investments, LLC

C & A Farms, LLC, Willow Avenue Investments,             2/2/2023                  $7,400,000.00/          1004
                                                                                                     REDACTED



LLC,' Gradon Farms, LLC, Cantua Orchards,
LLC, Copper Avenue Investments, LLC, Lincoln
Grantor Farms, LLC, ACAP Farms, LLC and
Maricopa Orchards, LLC

FARMER MAC MULTISTATE CROSS DEFAULT RIDER
                                                                                0PcirsonPatterson, LLP.-Arlington, Texas 2016
                                                                                        1538050917 [Doc Id 2424 MO! 142014]
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DATED effective this 2nd day of February 2023

BORROWER PARTIES:

COPPER AVENUE INVESTMENTS, LLC,                       ACAP FARMS,LLC,
aCa          i       any                                                     ility company
    ?JmtJ �

B y : Farshid Asscmi                                  B y : Farshid Assemi
Its: Manager                                          Its: Manager

MARICOPA ORCHARDS, LLC,
aCa f            ::any                                C & A FARMS, LLC,
   h �r:Ji:;                                          aCalifi · · ·  · ··         ompan y

By: Farshid Assemi
Its: General Manager                                  B y: Farshid Assemi
                                                      Its: Manager

LINCOLN
          7
              ANT0R FARMS, LLC,
a Califo n li it�d liability company                  WILLOW A
                                                      aCalifo
                                                                   :�1c
                                                                    'UE INVESTMENTS,LLC,
                                                                   ec lia ility compan y
                                                              /\JJ       �

                                                      B y : Neema Assemi
                                                      Its: Manager

GRA                    ,LLC,
aCali                  · ability company              CANTUA ORCHARDS, LLC,
                                                      aCalifor       il company
                                                               :g;�;; A

                                                      B y : Farshid Assemi
                                                      Its: Manager




Farmer Mac Cross-Collnteralization Rider
                                                  3
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DATED effective this 2nd day of February 2023.

BORROWER PARTIES:
                                                     ACAP FARMS, LLC,
COPPER AVENUE INVESTMENTS, LLC,                      a Cali
                                                              �;:7rc::----



    t:=P) �� k-- ---
a California limited liability company               By: Farshid Asscmi
                                                     Its: Manager
By: Farshid Assemi
Its: Manager

MARICOPA ORCHARDS, LLC,                              C & A FARMS, LLC,
a C,h          t
      fb :;tr=:_

By: Farshid Assemi
Its: General Manager
                        ny

                         _ _
                           _ _                       - bi-{.:::=------·-
                                                     a California limited li· bility company


                                                     By: Farshid Assemi
                                                     Its: Manager


                 ANTOR FARMS, LLC,
                  ited liability company

--+�- ---++----------
By: Nccrnn Asi                                       By: Neema Asscm
Its: Manager                                         Its: Manager


                                                     CANTUA ORCHARDS, LLC,
                                                     a California limited r y company


                                                     By: Farshid Assemi
By: Neerna Ass n ·                                   Its: Manager
Its: Manager




Farmer Mac Cross Default Rider
                                                 3
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                                                                         Fresno County Recorder
         Recorded at Request of
                                                                         Paul Dictos, CPA
       Old Republic Title Company           e
                                                                         2023-0010330
          a‘ oo\s(O                                                      Recorded at the request of:
  Recording Requested By:                                                ERECORDING PARTNERS NETWORK
                                                                         02/06/2023 09:36 05
 Conterra Agricultural Capital, LLC                                      Titles: 3  Pages: 24
                                                                         Fees: $126.00
 After Recording Return To:                                              CA SB2 Fees:$225.00
                                                                         Taxes: $0.00
                                                                         Total: $351.00
 Conterra Agricultural Capital, LLC
 5465 Mills Civic Parkway, Suite 201
 West Des Moines, IA 50266
 Attn: Taylor Petersen




                                         [Space Above This Line For Recording Data]

                            DEED OF TRUST
        Security Agreement, Assignment of Rents and Fixture Filing
                                                                                                             REDACTED
                                                                                                     Loan #        1004
 DEFINITIONS

 Words used in multiple sections of this document are defined below and other words are defined in certain Sections of
 this document. Certain rules regarding the usage of words used in this document are also provided in Section 13.

 (A) "Security Instrument" means this document, which is dated February 2, 2023, together with all Riders to this
 document.

 (B) "Lender" is Conterra Agricultural Capital, LLC. Lender is a limited liability company organized and existing
 under the laws of Iowa. Lender's address is 5465 Mills Civic Parkway, Suite 201, West Des Moines, IA 50266.
 Lender is the beneficiary under this Security Instrument.

(C) "Borrowers" are C & A Farms, LLC, a California limited liability company, Cantua Orchards, LLC, a
California limited liability company, and Gradon Farms, LLC, a California limited liability company. Borrowers
are trustors under this Security Instrument. "Borrower Parties" are Borrower and Maricopa Orchards, LLC, a
California limited liability company, Copper Avenue Investments, LLC, a California limited liability company,
ACAP Farms, LLC, a California limited liability company, Lincoln Grantor Farms, LLC, a California limited
liability company, and Willow Avenue Investments, LLC, a California limited liability company. Borrower Parties'
address is 5260 N. Palm Ave. Ste. 421, Mail Stop M, Fresno, CA 93704.

(D) "Trustee" is Old Republic Title Company.

(E) "Notes" means: (i) Borrower Parties' promissory note dated February 2, 2023, maturing on February 2, 2028, in
the original principal amount of $7,400,000.00, plus interest; (ii) a promissory note made by C&A Farms, LLC and
Whitesbridge Farms, LLC dated January 8, 2018, maturing on July 1, 2033, payable to the order of U.S. Bank National
Association, as Custodian/Trustee for Federal Agricultural Mortgage Corporation programs in the original principal of
$5,500,000.00, plus interest; (iii) an open ended promissory note made by C&A Farms, LLC and Whitesbridge Farms,
LLC dated January 8, 2018, and subsequently converted on June 27, 2018, maturing on July 1, 2038, payable to the order
of U.S. Bank National Association, as Custodian/Trustee for Federal Agricultural Mortgage Corporation programs in the
CALIFORNIA —Farmer Mac UNIFORM INSTRUMENT
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                                                                                                                                         B1161-2476 10/07/2022 1:26 PM Received by California Secretary of State
           Case 1:24-cv-01455-KES-SAB                         Document 1     Filed 11/27/24         Page 475 ofU220233579230
                                                                                                                529
                         STATE OF CALIFORNIA                                                               For Office Use Only
                         Office of the Secretary of State
                         UCC FINANCING STATEMENT AMENDMENT (UCC                                             -FILED-
                         3)
                         California Secretary of State                                              File No.: U220233579230
                         1500 11th Street                                                           Date Filed: 10/7/2022
                         Sacramento, California 95814
                         (916) 653-3516



Submitter Information:
  Contact Name                                                       Shelby Peters
  Organization Name                                                  Conterra Ag Capital
  Phone Number                                                       (515) 348-6409
  Email Address                                                      shelby.peters@conterraag.com
  Address                                                            5465 Mills Civic Parkway, Ste. 201
                                                                     West Des Moines, CA 50266
Amendment Action Information:
  Initial Financing Statement File Number                            187631437101
  Date Filed                                                         01/31/2018
  Amendment Action                                                   Continuation
Name of Secured Party of Record Authorizing This Amendment:

       If this Amendment is authorized by a Debtor, check this box and select the name of the Authorizing Debtor below.

  Authorizing Secured Party Name                                     U.S. BANK NATIONAL ASSOCIATION, AS
                                                                     CUSTODIAN/TRUSTEE FOR FEDERAL AGRICULTURAL
                                                                     MORTGAGE CORPORATION PROGRAMS
Optional Filer Reference Information:
  21701725, 21701728, 22002676, 22002678
Miscellaneous Information:




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    UCC FINANCING STATEMENT
    FOLLOW INSTRUCTIONS

    A_ NAME 8. PHONE OF CONTACT AT FILER (optional)


    S. E-MAIL CONTACT AT FILER (optional)



    C. SENO ACKNOWLEDGMENT TO: (Name and Address)

      F—Conterra Agricultural Capital, LLC
        Attn: Taylor Petersen
        7755 Office Plaza Drive North, Suite 195
        West Des Moines, Iowa 50266

      b                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME: Provide only au Debtor name (la or lb) (use exacl, full name: do not omit. modify, or abbreviate any part of the (Debtor's name); If any part of die Individual Dabtora
                                                                     Ei
       name riell not St In One lb, leave all of Item 1 blank, chock here and proykle Ors Individual Debtor Information In Item 10 of the Flnandrig &Moment Addendum (Form UCC1Ad)

         la. ORGANIZATION'S NAME
         Copper Avenue Investments, LLC, a California limited liability company
    OR
         lb. INDIVIDUAL'S SURNAME                                                       FIRST PERSONAL NAME                               ADDITIONAL NAME(SylNITIAL(S)            SUFFD(


    lc, MAILING ADDRESS                                                                 CITY                                              STATE      POSTAL CODE                  COUNTRY
     1306 W Herndon Ave. #101                                                            Fresno                                            CA         93711                        US
    2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, furl name; do not orrill, modtfy, or abbreviate any pert of the Debtor's name): If any part of the Inclyklual Debtor's
       name ell not lit In Sne 2b, leave all of kern 2 blank, check here a enCI provide the Individual Debtor Information In item 10 of the Financing Statement Addendum (Form UCC1Ad)

         2a. ORGANIZATION'S NAME
         ACAP Holdings, LLC, a California limited liability comany
     R
         2b. INDNIDUAL'S SURNAME                                                        EMT PERSONAL NAME                                 ADDITIONAL NAME(SWINITIAL(S)            SUFFIX


    2o. MAILING ADDRESS                                                                 CITY                                               STATE     POSTAL CODE                  COUNTRY
     1306 W Herndon Ave. #101                                                            Fresno                                            CA         93711                        US
    3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only cam Secured Party name (3a or so)
        3a ORGANIZATION'S NAME
         U.S. Bank National Association, as Custodian/Trustee for Federal Agricultural Mortgage Corportation programs
    OR
         3b. INDIVIDUAL'S SURNAME                                                       FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


    3c WdUNG ADDRESS                                                                    CITY                                               STATE.    POSTAL CODE                  COUNTRY
     1133 Rankin Street, Suite 100                                                       St. Paul                                          MN         55116                        US
    4. COLLATERAL: Thls financing statornent covers the following COllateret:
-    See UCC Financing Statement Addendum, Rider A to UCC, and Exhibit A Legal Description attached hereto and made a part hereof.




    S. Check gal If applicable and check anti OM box' CollaterN Is a    held In a Trual (see UCCIAd. Item 17 and Instructions)      bung administered bye Decedent's Personal Representative
    8a. Check gay d sootiest*, and check only one box:                                                                              6b. Cher* gay 11 applicable and check only one box:

             PublIcEinance Transaction        O    Munufactureci•Home Transaction        p A Debtor le a Transmitting Willy                  Agricultiral Lien    O   NonrUCC FAing

    7. ALTERNATIVE DESIGNATION (if applicable):            Lessee/Lessor               Consignee/Consignor              Seller/Suyer             Balee/Beilor              loceneee/LIconsor

    8. OPTIONAL FILER REFERENCE DATA:
     Filing Office: Fresno County, California

                                                           UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
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                                                                                                                                      B3098-9040 10/08/2024 11:34 AM Received by California Secretary of State
           Case 1:24-cv-01455-KES-SAB                         Document 1    Filed 11/27/24       Page 510 ofU240078498037
                                                                                                             529
                         STATE OF CALIFORNIA                                                            For Office Use Only
                         Office of the Secretary of State
                         UCC FINANCING STATEMENT AMENDMENT (UCC                                          -FILED-
                         3)
                         California Secretary of State                                           File No.: U240078498037
                         1500 11th Street                                                        Date Filed: 10/8/2024
                         Sacramento, California 95814
                         (916) 657-5448



Submitter Information:
  Contact Name                                                       Abby Hendrickson
  Organization Name                                                  Conterra
  Phone Number                                                       (515) 564-5148
  Email Address                                                      abby.hendrickson@conterraag.com
  Address                                                            5465 Mills Civic Pkwy
                                                                     Ste 201
                                                                     West Des Moines, IA 50266
Amendment Action Information:
  Initial Financing Statement File Number                            197741674006
  Date Filed                                                         10/16/2019
  Amendment Action                                                   Continuation
Name of Secured Party of Record Authorizing This Amendment:

       If this Amendment is authorized by a Debtor, check this box and select the name of the Authorizing Debtor below.

  Authorizing Secured Party Name                                     CONTERRA AGRICULTURAL CAPITAL, LLC
Optional Filer Reference Information:


Miscellaneous Information:




                                                                                                                              Page 1 of 1
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              Exhibit R
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                                          September 12, 2024


VIA FEDERAL EXPRESS

Copper Avenue Investments, LLC                         Maricopa Orchards, LLC
5260 N Palm Ave Suite 421                              5260 N Palm Ave Suite 421
Mail Stop A                                            Mail Stop A
Fresno, CA 93704                                       Fresno, CA 93704

C & A Farms, LLC                                       Lincoln Grantor Farms, LLC
5260 N Palm Ave Suite 421                              5260 N Palm Ave Suite 421
Mail Stop A                                            Mail Stop A
Fresno, CA 93704                                       Fresno, CA 93704

Willow Avenue Investments, LLC                         ACAP Farms, LLC
5260 N Palm Ave Suite 421                              5260 N Palm Ave Suite 421
Mail Stop A                                            Mail Stop A
Fresno, CA 93704                                       Fresno, CA 93704

Gradon Farms, LLC                                      Cantua Orchards, LLC
5260 N Palm Ave Suite 421                              5260 N Palm Ave Suite 421
Mail Stop A                                            Mail Stop A
Fresno, CA 93704                                       Fresno, CA 93704

Whitesbridge Farms, LLC                                Assemi Brothers, LLC
5260 N Palm Ave Suite 421                              5260 N Palm Ave Suite 421
Mail Stop A                                            Mail Stop A
Fresno, CA 93704                                       Fresno, CA 93704

Re:      NOTICE OF EVENTS OF DEFAULT AND RESERVATION OF RIGHTS

Dear Borrowers:

Federal Agricultural Mortgage Corporation ("Farmer Mac") is the holder of the loans described on Exhibit
A attached hereto (the "Loans") to Maricopa Orchards, LLC, a California limited liability company
("Maricopa"), Copper Avenue Investments, LLC, a California limited liability company ("Copper"),
Lincoln Grantor Farms, LLC, a California limited liability company ("Lincoln"), ACAP Farms, LLC, a
California limited liability company ("ACAP Farms"), C & A Farms, LLC, a California limited liability
company ("C & A"), Whitesbridge Farms, LLC, a California limited liability company ("Whitesbridge"),
Willow Avenue Investments, LLC, a California limited liability company ("Willow"), Assemi Brothers,
LLC, a California limited liability company ("Assemi"), Cantua Orchards, LLC, a California limited
liability company ("Cantua"), and Gradon Farms, LLC, a California limited liability company ("Gradon"
and, collectively with Maricopa, Copper, Lincoln, ACAP Farms, C & A, Whitesbridge, Willow, Assemi
and Cantua, the "Borrowers"), which are evidenced by the Promissory Notes described on Exhibit A
attached hereto (as amended, supplemented, restated, or otherwise modified, the "Promissory Notes") and
are secured by, inter alia, the security instruments described on Exhibit B attached hereto (as amended,
supplemented, restated, or otherwise modified, the "Security Instruments" and, collectively with the
Promissory Notes and any other document evidencing or securing the Loans, in each case as amended,
supplemented, restated, or otherwise modified, the "Loan Documents"). Except as otherwise specified,

                                                   1
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capitalized terms used herein shall have the meanings set forth in the Loan Documents. The Loan numbers
referenced herein are as defined on Exhibit A attached hereto.

Loans       1725,
        REDACTED
                        1728,
                      REDACTED
                                    2676,
                                       REDACTED
                                                  2678,
                                                  REDACTED
                                                             1673,   1674 and
                                                                        REDACTED
                                                                                    1004 are fully
                                                                                              REDACTED                     REDACTED



guaranteed by each of Farshid Assemi, Farid Assemi, Darius Assemi and Sonia Assemi (collectively, the
"Guarantors", and such guarantees, collectively, the "Guarantees").

This correspondence serves as notice to the Borrowers and the Guarantors that the following Events of
Default currently exist under the Loan Documents:

     1. The Promissory Note for each of Loans         1725,      1728,
                                                             REDACTED
                                                                            2676,        2678,
                                                                                   REDACTED
                                                                                                   1673,
                                                                                                     REDACTED          REDACTED          REDACTED



             1674 and
          REDACTED
                            1004 requires that the applicable Borrower(s) thereunder pay to Farmer Mac
                            REDACTED



        accrued interest with respect to such Loan on July 1, 2024. The applicable Borrower(s) under
        each such Loan failed to pay such interest on July 1, 2024, which constitutes an Event of Default
        under each such Loan and the applicable Loan Documents.

     2. The Promissory Note for each of Loans        1725,      1728,
                                                             REDACTED
                                                                           1674 and
                                                                               REDACTED
                                                                                          1004 requires
                                                                                                    REDACTED                  REDACTED



        that the applicable Borrower(s) thereunder pay to Farmer Mac the principal amounts described
        therein with respect to such Loan on July 1, 2024. The applicable Borrower(s) under each such
        Loan failed to pay such principal amounts on July 1, 2024, which constitutes an Event of Default
        under each such Loan and the applicable Loan Documents.

     3. The Loan Documents for each of Loans              2676,      2678 and
                                                                REDACTED
                                                                                      1004 require that the
                                                                                      REDACTED                  REDACTED



        applicable Borrower(s) thereunder maintain as of the 2023 fiscal year end a debt service coverage
        ratio of greater than or equal to 1.25:1.00. The applicable Borrowers under each such Loan
        reported as of such fiscal year end a debt service coverage ratio of 0.46:1.00, which constitutes an
        Event of Default under each such Loan and the applicable Loan Documents. This Event of Default
        is not curable.

     4. The Loan Documents for each of Loans           2676,      2678 and
                                                                REDACTED
                                                                                 1004 require that the
                                                                                      REDACTED                  REDACTED



        applicable Borrower(s) thereunder maintain as of the 2023 fiscal year end a current ratio of not
        less than 1.50:1.00. The applicable Borrowers under each such Loan reported a current ratio for
        such period of 0.56:1.00, which constitutes an Event of Default under each such Loan and the
        applicable Loan Documents. This Event of Default is not curable.

     5. Each Loan is cross defaulted with all other Loans and, accordingly, each of the Events of Default
        under the Loans and Loan Documents described in the preceding paragraphs (1) through (4)
        constitutes an Event of Default under all other Loans and Loan Documents.

The foregoing is not intended to be an exhaustive list of all existing breaches, violations, defaults or Events
of Default under the Loan Documents (all such breaches, violations, defaults and Events of Default,
regardless of whether set forth in the foregoing list, collectively, the "Events of Defaults").

Farmer Mac has not waived and does not waive, and instead hereby expressly reserves, any and all rights,
powers, privileges and remedies it may have or to which it may be entitled, as well as any claims it may
assert, now or in the future, pursuant to the Loan Documents and all applicable laws, which remedies
include, without limitation, the right to: (i) setoff against any accounts held by Farmer Mac; (ii) accelerate
and make immediately due and payable all amounts due from Borrowers to Farmer Mac under the Loan
Documents; (iii) collect interest at the default rate specified in the Loan Documents; (iv) pursue all other
remedies available to collect on the amounts due from the Borrowers, including, without limitation,
instructing our legal counsel to commence proceedings to foreclose on collateral and security for the

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obligations of the Borrowers under the Loan Documents (the "Obligations") and (v) demand payment under
the Guarantees (or any of them) or any other guaranty of the Obligations, in each case immediately and
without any further notice to the Borrowers or any Guarantor. Farmer Mac has not agreed to forbear from
exercising any of the rights and remedies available to it under the Promissory Notes, the Security
Instruments, the Guarantees or the other Loan Documents, or to waive the Events of Default. No delay in
acting shall constitute a waiver of the Events of Default or Farmer Mac's rights and remedies in connection
therewith.

This correspondence serves as notice to the Borrowers and the Guarantors of the Events of Default, and is
delivered pursuant to, and to satisfy any notice requirements under, the Loan Documents. In furtherance
and not in limitation of the preceding sentence, this correspondence serves as notice that, if the Borrowers
do not pay any currently-overdue amount or otherwise cure the Events of Default within thirty (30) days
after receipt of this written notice, Farmer Mac may require immediate payment of the full amount of
Principal of the Loans which has not been paid and all the interest and any applicable fees and costs that
the Borrowers owe on that amount. Notwithstanding the foregoing, Farmer Mac reserves its rights to
exercise any of the rights and remedies available to it under the Loan Documents with respect to the Events
of Default, including acceleration of such amounts, at a different date as permitted by applicable law or
otherwise in the Loan Documents. This correspondence further serves as notice by Farmer Mac to
Borrowers that they may have the right to reinstate after acceleration and may have the right to bring a court
action to assert the non-existence of a default or any other defense, as referenced under the Security
Instruments, which Farmer Mac is incorporating by reference.

Please be advised that neither the acceptance by Farmer Mac of any further payments nor any agreement
by Farmer Mac to extend, renew or otherwise modify the Loans, the Promissory Notes or the other Loan
Documents shall constitute a waiver by Farmer Mac of any default or event of default that may exist under
the Promissory Notes, the Security Instruments, the Guarantees or the other Loan Documents, including,
without limitation, the Events of Default.

Additionally, be advised that pursuant to the Loan Documents, you are liable to Farmer Mac for all costs
and expenses incurred by Farmer Mac in connection with the foregoing matters, including attorneys' fees.

Farmer Mac hereby notifies the Borrowers and the Guarantors that at no time shall any prior or subsequent
course of conduct by any Borrower, any Guarantor or Farmer Mac directly or indirectly limit, impair or
otherwise adversely affect any of Farmer Mac's rights, interests or remedies in connection with the Loans,
the Promissory Notes, the Security Instruments, the Guarantees or the other Loan Documents or obligate
Farmer Mac to agree to, or to negotiate or consider an agreement to, any waiver of any obligation, default
or event of default by any Borrower or any Guarantor under the Loans, the Promissory Notes, the Security
Instruments, the Guarantees or the other Loan Documents (including the Events of Default) or any
amendment to any term or condition of the Loans, the Promissory Notes, the Security Instruments, the
Guarantees or the other Loan Documents.

This written notice is being transmitted as a courtesy to you, and is not intended as an admission that any
further written notice is otherwise due you and shall not constitute a course of dealing. We also wish to
remind you that no commitments, assurances, discussions or agreements on Farmer Mac's behalf with
respect to any of the Loans, any Borrower, any Guarantor or any Loan Document shall be effective, nor
should they be relied upon, unless in writing (email communications are considered to be the same as verbal
communications and not a form of written commitment) and duly executed on behalf of Farmer Mac.



Very truly yours,

                                                      3
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Federal Agricultural Mortgage Corporation



Matthew Addison
Senior Client Manager – Corporate AgFinance


With a copy to the following Guarantors:

Darius Assemi
5260 N Palm Ave Suite 421
Mail Stop A
Fresno, CA 93704

Farid Assemi
5260 N Palm Ave Suite 421
Mail Stop A
Fresno, CA 93704

Farshid Assemi
5260 N Palm Ave Suite 421
Mail Stop A
Fresno, CA 93704

Sonia Assemi
5260 N Palm Ave Suite 421
Mail Stop A
Fresno, CA 93704




                                                 4
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                                               EXHIBIT A

                                                   Loans

    1. On or about January 13, 2023, Conterra Agricultural Capital, LLC, an Iowa limited liability
       company ("Conterra"), made a loan ("Loan          1004") to Maricopa, Copper, Lincoln, C & A,
                                                      REDACTED



       ACAP Farms Willow, Cantua and Gradon, in the original principal amount of $7,400,000, which
       is evidenced by that certain promissory note, dated January 13, 2023, in the principal amount of
       $7,400,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan
            1004, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



       Farmer Mac).

    2. On or about January 8, 2018, Conterra made a loan ("Loan       1725") to C & A and Whitesbridge,
                                                                     REDACTED



       in the principal amount of $5,500,000, which is evidenced by that certain promissory note, dated
       January 8, 2018, in the original principal amount of $5,500,000, payable to the order of Conterra
       (Conterra’s right, title and interest in and to Loan         1725, together with all documents
                                                                  REDACTED



       evidencing or securing the same, having been assigned to Farmer Mac).

    3. On or about January 8, 2018, Conterra made a loan ("Loan       1728") to C & A and Whitesbridge
                                                                     REDACTED



       in the principal amount of $1,500,000, which is evidenced by that certain promissory note, dated
       January 8, 2018, in the original principal amount of $1,500,000, payable to the order of Conterra
       (Conterra’s right, title and interest in and to Loan         1728, together with all documents
                                                                  REDACTED



       evidencing or securing the same, having been assigned to Farmer Mac).

    4. On or about October 11, 2019, Conterra made a loan ("Loan           1673") to Copper, Maricopa,
                                                                                REDACTED



       Gradon, Cantua, Lincoln, as transferee of Ashlan & Hayes Investments, LLC, a California limited
       liability company ("Ashlan & Hayes"), and ACAP Farms, as transferee of ACAP Holdings, LLC,
       a California limited liability company ("ACAP Holdings") in the original principal amount of
       $5,297,232, which is evidenced by that certain promissory note, dated October 11, 2019, in the
       principal amount of $5,297,232, payable to the order of Conterra (Conterra’s right, title and interest
       in and to Loan       1673, together with all documents evidencing or securing the same, having
                           REDACTED



       been assigned to Farmer Mac).

    5. On or about October 11, 2019, Conterra made a loan ("Loan                1674") to Copper, Maricopa,
                                                                                REDACTED



       Gradon, Cantua, Lincoln, as transferee of Ashlan & Hayes, and ACAP Farms, as transferee of
       ACAP Holdings in the principal amount of $10,258,632, which is evidenced by that certain
       promissory note, dated October 11, 2019, in the original principal amount of $10,258,632, payable
       to the order of Conterra (Conterra’s right, title and interest in and to Loan      1674, together with
                                                                                            REDACTED



       all documents evidencing or securing the same, having been assigned to Farmer Mac).

    6. On or about December 14, 2020, Conterra made a loan ("Loan            2676") to Maricopa, C & A,
                                                                                 REDACTED



       Willow, Assemi, and Whitesbridge in the principal amount of $12,500,000, which is evidenced by
       that certain promissory note, dated December 14, 2020, in the original principal amount of
       $12,500,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan
            2676, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



       Farmer Mac).

    7. On or about December 14, 2020, Conterra made a loan ("Loan            2678") to Maricopa, C & A,
                                                                                 REDACTED



       Willow, Assemi, and Whitesbridge in the principal amount of $12,500,000, which is evidenced by
       that certain promissory note, dated December 14, 2020, in the original principal amount of
       $12,500,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan




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             2678, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



         Farmer Mac).




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                                              EXHIBIT B

                                         Security Instruments

    1. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
       delivered by C & A, Cantua and Gradon, as trustor, to Old Republic Title Company, as trustee for
       the benefit of Conterra, as beneficiary, and recorded in the official records of Fresno County,
       California, as Document No. 2023-0010330 (Conterra’s right, title and interest in and to Loan
            1004, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



       Farmer Mac).

    2. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
       delivered by Maricopa, C & A and Willow, as trustor, to Old Republic Title Company, as trustee
       for the benefit of Conterra, as beneficiary, and recorded in the official records of Kern County,
       California, as Document No. 223013714 (Conterra’s right, title and interest in and to Loan
            1004, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



       Farmer Mac).

    3. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
       delivered by Copper, Lincoln and ACAP Farms, as trustor, to Old Republic Title Company, as
       trustee for the benefit of Conterra, as beneficiary, and recorded in the official records of King
       County, California, as Document No. 2301891 (Conterra’s right, title and interest in and to Loan
            1004, together with all documents evidencing or securing the same, having been assigned to
         REDACTED



       Farmer Mac).

    4. Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and Fixture
       Filing, dated as of February 2, 2023, executed and delivered by C & A, as trustor, to Old Republic
       Title Company, as trustee for the benefit of U.S. Bank National Association, as Custodian/Trustee
       for Farmer Mac, as beneficiary, and recorded in the official records of Fresno County, California,
       as Document No. 2023-0011222.

    5. Amended and Restated Deed of Trust (With Future Advance Clause), Security Agreement,
       Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and delivered by
       C & A, as trustor, to Michael H. Patterson, as trustee for the benefit of U.S. Bank National
       Association, as Custodian/Trustee for Farmer Mac, as beneficiary, and recorded in the official
       records of Fresno County, California, as Document No. 2023-0011223.

    6. Amended and Restated Open-End Deed of Trust (With Future Advance Clause) Security
       Agreement, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
       delivered by Copper, ACAP Farms, Lincoln, Gradon and Cantua, as trustor, to Old Republic Title
       Company, as trustee for the benefit of U.S. Bank National Association, as Custodian/Trustee for
       Farmer Mac, as beneficiary, and recorded in the official records of Fresno County, California, as
       Document No. 2023-0011386.

    7. Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and Fixture
       Filing, dated as of February 2, 2023, executed and delivered by Copper, ACAP Farms, Lincoln,
       Gradon and Cantua, as trustor, to Old Republic Title Company, as trustee for the benefit of U.S.
       Bank National Association, as Custodian/Trustee for Farmer Mac, as beneficiary, and recorded in
       the official records of Fresno County, California, as Document No. 2023-0011359.

    8. Amended and Restated Open-End Deed of Trust (With Future Advance Clause) Security
       Agreement, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and



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         delivered by Maricopa, C & A and Willow, as trustor, to Fidelity National Title Company, as trustee
         for the benefit of U.S. Bank National Association, as Custodian/Trustee for Farmer Mac, as
         beneficiary, and recorded in the official records of Kern County, California, as Document No.
         223016523.




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            Exhibit S
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October 16, 2024

VIA FIRST CLASS MAIL AND EMAIL

 Copper Avenue Investments, LLC                       Maricopa Orchards, LLC
 5260 N Palm Ave Suite 421                            5260 N Palm Ave Suite 421
 Mail Stop A                                          Mail Stop A
 Fresno, CA 93704                                     Fresno, CA 93704

 C & A Farms, LLC                                     Lincoln Grantor Farms, LLC
 5260 N Palm Ave Suite 421                            5260 N Palm Ave Suite 421
 Mail Stop A                                          Mail Stop A
 Fresno, CA 93704                                     Fresno, CA 93704

 Willow Avenue Investments, LLC                       ACAP Farms, LLC
 5260 N Palm Ave Suite 421                            5260 N Palm Ave Suite 421
 Mail Stop A                                          Mail Stop A
 Fresno, CA 93704                                     Fresno, CA 93704

 Gradon Farms, LLC                                    Cantua Orchards, LLC
 5260 N Palm Ave Suite 421                            5260 N Palm Ave Suite 421
 Mail Stop A                                          Mail Stop A
 Fresno, CA 93704                                     Fresno, CA 93704

 Whitesbridge Farms, LLC                              Assemi Brothers, LLC
 5260 N Palm Ave Suite 421                            5260 N Palm Ave Suite 421
 Mail Stop A                                          Mail Stop A
 Fresno, CA 93704                                     Fresno, CA 93704


Re:     Notice of Default and Reservation of Rights

Ladies and Gentlemen:

Reference is made to that certain Notice of Events of Default and Reservation of Rights dated as of
September 12, 2024 (the “Prior Reservation of Rights”).

Federal Agricultural Mortgage Corporation (“Farmer Mac”) is the holder of the loans described on Exhibit A
attached hereto (the “Loans”) to Maricopa Orchards, LLC, a California limited liability company
(“Maricopa”), Copper Avenue Investments, LLC, a California limited liability company (“Copper”), Lincoln
Grantor Farms, LLC, a California limited liability company (“Lincoln”), ACAP Farms, LLC, a California
limited liability company (“ACAP Farms”), C & A Farms, LLC, a California limited liability company
(“C & A”), Whitesbridge Farms, LLC, a California limited liability company (“Whitesbridge”), Willow
Avenue Investments, LLC, a California limited liability company (“Willow”), Assemi Brothers, LLC, a
California limited liability company (“Assemi”), Cantua Orchards, LLC, a California limited liability
company (“Cantua”), and Gradon Farms, LLC, a California limited liability company (“Gradon” and,
collectively with Maricopa, Copper, Lincoln, ACAP Farms, C & A, Whitesbridge, Willow, Assemi and
Cantua, the “Borrowers”), which are evidenced by the Promissory Notes described on Exhibit A attached
hereto (as amended, supplemented, restated, or otherwise modified, the “Promissory Notes”) and are secured
by, inter alia, the security instruments described on Exhibit B attached hereto (as amended, supplemented,
restated, or otherwise modified, the “Security Instruments” and, collectively with the Promissory Notes and
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any other document evidencing or securing the Loans, in each case as amended, supplemented, restated, or
otherwise modified, the “Loan Documents”). Except as otherwise specified, capitalized terms used herein
shall have the meanings set forth in the Loan Documents. The Loan numbers referenced herein are as
defined on Exhibit A attached hereto.

Loans       1725,       1728,       2676,         2678,      1673,   1674 and       1004 are fully
        REDACTED      REDACTED          REDACTED   REDACTED              REDACTED              REDACTED                     REDACTED




guaranteed by each of Farshid Assemi, Farid Assemi, Darius Assemi and Sonia Assemi (collectively, the
“Guarantors”, and such guarantees, collectively, the “Guarantees”).

In the Prior Reservation of Rights, we advised you that certain Events of Default had occurred and were
continuing under the relevant terms of the Promissory Notes. Specifically, without limitation:

     1. The Promissory Note for each of Loans         1725,      1728,      2676,       2678,      1673,
                                                              REDACTED              REDACTED          REDACTED          REDACTED          REDACTED




             1674 and       1004 requires that the applicable Borrower(s) thereunder pay to Farmer Mac
           REDACTED          REDACTED




        accrued interest with respect to such Loan on July 1, 2024. The applicable Borrower(s) under
        each such Loan failed to pay such interest on July 1, 2024, which constitutes an Event of Default
        under each such Loan and the applicable Loan Documents.

     2. The Promissory Note for each of Loans        1725,      1728,      1674 and       1004 requires
                                                              REDACTED              REDACTED         REDACTED                  REDACTED




        that the applicable Borrower(s) thereunder pay to Farmer Mac the principal amounts described
        therein with respect to such Loan on July 1, 2024. The applicable Borrower(s) under each such
        Loan failed to pay such principal amounts on July 1, 2024, which constitutes an Event of Default
        under each such Loan and the applicable Loan Documents.

     3. The Loan Documents for each of Loans            2676,      2678 and        1004 require that the
                                                                 REDACTED               REDACTED                 REDACTED




        applicable Borrower(s) thereunder maintain as of the 2023 fiscal year-end a debt service coverage
        ratio of greater than or equal to 1.25:1.00. The applicable Borrower(s) under each such Loan
        reported as of such fiscal year-end a debt service coverage ratio of 0.46:1.00, which constitutes
        an Event of Default under each such Loan and the applicable Loan Documents.

     4. The Loan Documents for each of Loans            2676,      2678 and      1004 require that the
                                                                 REDACTED               REDACTED                 REDACTED




        applicable Borrower(s) thereunder maintain as of the 2023 fiscal year-end a current ratio of not
        less than 1.50:1.00. The applicable Borrower(s) under each such Loan reported a current ratio for
        such period of 0.56:1.00, which constitutes an Event of Default under each such Loan and the
        applicable Loan Documents.

     5. Each Loan is cross defaulted with all other Loans and, accordingly, each of the Events of Default
        under the Loans and Loan Documents described in the preceding paragraphs (1) through (4)
        constitutes an Event of Default under all other Loans and Loan Documents.

The foregoing is not intended to be an exhaustive list of all existing breaches, violations, defaults or Events
of Default under the Loan Documents (all such breaches, violations, defaults and Events of Default,
regardless of whether set forth in the foregoing list, collectively, the “Existing Events of Defaults”).

This correspondence serves as notice to the Borrowers and Guarantors of the Existing Events of Default,
and is delivered pursuant to, and to satisfy any notice requirements under the Loan Documents, including
but not limited to the notice requirements of Section 26 of each of the Security Instruments identified on
Exhibit B hereto. The Borrowers must cure the Existing Events of Default constituting payment defaults as
described herein within sixty (60) days of Borrowers’ receipt of this notice, or December 15, 2024 (the
“Cure Date”). If the Borrowers fail to cure any of the Existing Events of Default that are subject to cure by
the Cure Date, Farmer Mac may exercise any and all rights and remedies, including but not limited to, the

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acceleration and demand for immediate payment of all outstanding amounts due and payable from Borrowers
to Farmer Mac under the Loan Documents. We further note that, notwithstanding the foregoing, certain of
the Existing Events of Default, such as those identified in paragraphs 3 and 4 above, are not subject to cure
and Farmer Mac reserves all rights in connection therewith. The Borrowers are hereby notified that in the
event Farmer Mac exercises its right to accelerate all amounts due and owing under the Loan Documents,
Borrowers shall retain the right to reinstate after the acceleration pursuant to Section 16 and Section 26 of
the Security Instruments, and shall have the right to bring an action in court of competent jurisdiction to
assert the non-existence of a default or any other defense of the Borrowers to the acceleration of amounts
due under the Loan Documents.

Please be advised that, as a result of the Existing Events of Defaults and Borrowers’ continuing failure to
cure the same following receipt of the Prior Reservation of Rights, all principal amounts outstanding under
the Loan Documents shall bear interest from and after the date of this letter at the applicable default rate of
interest. The Promissory Notes and the respective applicable default rates of interest are specified on
Exhibit A hereto. In addition, Farmer Mac hereby reserves the right to assert late charges as provided under
the Loan Documents based upon the payment defaults identified herein above.

Farmer Mac expressly reserves any and all rights, powers, privileges and remedies it may have or to which
it may be entitled, as well as any claims it may assert now or in the future which have not already been
exercised pursuant to the Loan Documents and all applicable laws, which remedies include, without
limitation, the right to: (i) setoff against any accounts held by Farmer Mac; (ii) accelerate and make
immediately due and payable all amounts due from Borrowers to Farmer Mac under the Loan Documents;
(iii) pursue all other remedies available to collect on the amounts due from the Borrowers, including, without
limitation, instructing our legal counsel to commence proceedings to foreclose on collateral and security for
the obligations of the Borrowers under the Loan Documents (the “Obligations”); and (iv) demand payment
under the Guarantees (or any of them) or any other guaranty of the Obligations, in each case immediately
and without any further notice to the Borrowers or any Guarantor. Farmer Mac has not agreed to forbear
from exercising any of the rights and remedies available to it under the Promissory Notes, the Security
Instruments, the Guarantees or the other Loan Documents, or to waive the Existing Events of Default. No
delay in acting shall constitute a waiver of the Existing Events of Default or Farmer Mac’s rights and
remedies in connection therewith.

At no time shall any prior or subsequent course of conduct, or the acceptance of any payment on the
Promissory Note or agreement to amend modify or extend the terms thereof, by Farmer Mac, the Borrowers
or Guarantors directly or indirectly limit, impair or otherwise adversely affect any of Farmer Mac’s rights,
interests or remedies in connection with the Loan Documents or obligate Farmer Mac to agree to, negotiate
or consider an agreement to waive any obligation, Default or Event of Default by the Borrowers or
Guarantors under any Loan Document or to amend any term or condition of the Loan Documents.

Sincerely,

FEDERAL AGRICULTURAL MORTGAGE CORPORATION

By:
Name: Zachary Carpenter
Title: Executive Vice President – Chief Business Officer

cc:     Darius Assemi
        Farid Assemi
        Farshid Assemi
        Sonia Assemi

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                                                      EXHIBIT A
                                                         Loans

 1. On or about January 13, 2023, Conterra Agricultural Capital, LLC, an Iowa limited liability
    company (“Conterra”), made a loan (“Loan           1004”) to Maricopa, Copper, Lincoln, C & A,
                                                           REDACTED




    ACAP Farms Willow, Cantua and Gradon, in the original principal amount of $7,400,000, which
    is evidenced by that certain promissory note, dated January 13, 2023, in the principal amount of
    $7,400,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan
         1004, together with all documents evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac). Pursuant to Section 6 of Loan          1004, all principal amounts owing thereunder
                                                             REDACTED




    will accrue interest from and after the date hereof at the default interest rate of eighteen percent
    (18.000%).

 2. On or about January 8, 2018, Conterra made a loan (“Loan          1725”) to C & A and Whitesbridge,
                                                                            REDACTED




    in the principal amount of $5,500,000, which is evidenced by that certain promissory note, dated
    January 8, 2018, in the original principal amount of $5,500,000, payable to the order of Conterra
    (Conterra’s right, title and interest in and to Loan            1725, together with all documents
                                                                         REDACTED




    evidencing or securing the same, having been assigned to Farmer Mac). Pursuant to Section 7 of
    the note evidencing Loan         1725, all principal amounts owing thereunder will accrue interest
                                     REDACTED




    from and after the date hereof at the default interest rate of five (5.000%) above the current
    applicable interest rate pursuant to Section 2 of the note evidencing Loan       1725.
                                                                                                  REDACTED




 3. On or about January 8, 2018, Conterra made a loan (“Loan          1728”) to C & A and Whitesbridge
                                                                            REDACTED




    in the principal amount of $1,500,000, which is evidenced by that certain promissory note, dated
    January 8, 2018, in the original principal amount of $1,500,000, payable to the order of Conterra
    (Conterra’s right, title and interest in and to Loan            1728, together with all documents
                                                                         REDACTED




    evidencing or securing the same, having been assigned to Farmer Mac). Pursuant to Section 8(D)
    of the note evidencing Loan        1728, the amounts due and owing thereunder will accrue interest
                                          REDACTED




    from and after the date hereof at the default interest rate of five (5.000%) above the current
    applicable interest rate pursuant to Section 2 of the note evidencing Loan      1728.
                                                                                                  REDACTED




 4. On or about October 11, 2019, Conterra made a loan (“Loan           1673”) to Copper, Maricopa,
                                                                                       REDACTED




    Gradon, Cantua, Lincoln, as transferee of Ashlan & Hayes Investments, LLC, a California limited
    liability company (“Ashlan & Hayes”), and ACAP Farms, as transferee of ACAP Holdings, LLC,
    a California limited liability company (“ACAP Holdings”) in the original principal amount of
    $5,297,232, which is evidenced by that certain promissory note, dated October 11, 2019, in the
    principal amount of $5,297,232, payable to the order of Conterra (Conterra’s right, title and interest
    in and to Loan         1673, together with all documents evidencing or securing the same, having
                    REDACTED




    been assigned to Farmer Mac). Pursuant to Section 8(D) of the note evidencing Loan              1673,
                                                                                                             REDACTED




    the amounts due and owing thereunder will accrue interest from and after the date hereof at the
    default interest rate of eighteen percent (18.000%).

 5. On or about October 11, 2019, Conterra made a loan (“Loan               1674”) to Copper, Maricopa,
                                                                                       REDACTED




    Gradon, Cantua, Lincoln, as transferee of Ashlan & Hayes, and ACAP Farms, as transferee of ACAP
    Holdings in the principal amount of $10,258,632, which is evidenced by that certain promissory note,
    dated October 11, 2019, in the original principal amount of $10,258,632, payable to the order of
    Conterra (Conterra’s right, title and interest in and to Loan       1674, together with all documents
                                                                             REDACTED




    evidencing or securing the same, having been assigned to Farmer Mac). Pursuant to Section 6 of the
    note evidencing Loan         1674, all principal amounts owing thereunder will accrue interest from
                               REDACTED




    and after the date hereof at the default interest rate of eighteen percent (18.000%)



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 6. On or about December 14, 2020, Conterra made a loan (“Loan            2676”) to Maricopa, C & A,
                                                                      REDACTED




    Willow, Assemi, and Whitesbridge in the principal amount of $12,500,000, which is evidenced by
    that certain promissory note, dated December 14, 2020, in the original principal amount of
    $12,500,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan
         2676, together with all documents evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac). Pursuant to Section 8(D) of the note evidencing Loan           2676, the amounts due
                                                                                 REDACTED




    and owing thereunder will accrue interest from and after the date hereof at the default interest rate
    of eighteen percent (18.000%).

 7. On or about December 14, 2020, Conterra made a loan (“Loan            2678”) to Maricopa, C & A,
                                                                      REDACTED




    Willow, Assemi, and Whitesbridge in the principal amount of $12,500,000, which is evidenced by
    that certain promissory note, dated December 14, 2020, in the original principal amount of
    $12,500,000, payable to the order of Conterra (Conterra’s right, title and interest in and to Loan
         2678, together with all document evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac). Pursuant to Section 8(D) of the note evidencing Loan           2678, the amounts due
                                                                                 REDACTED




    and owing thereunder will accrue interest from and after the date hereof at the default interest rate
    of eighteen percent (18.000%).




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                                          EXHIBIT B

                                     Security Instruments
 1. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
    delivered by C & A, Cantua and Gradon, as trustor, to Old Republic Title Company, as trustee for
    the benefit of Conterra, as beneficiary, and recorded in the official records of Fresno County,
    California, as Document No. 2023-0010330 (Conterra’s right, title and interest in and to Loan
         1004, together with all documents evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac).

 2. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
    delivered by Maricopa, C & A and Willow, as trustor, to Old Republic Title Company, as trustee
    for the benefit of Conterra, as beneficiary, and recorded in the official records of Kern County,
    California, as Document No. 223013714 (Conterra’s right, title and interest in and to Loan
         1004, together with all documents evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac).

 3. Deed of Trust, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
    delivered by Copper, Lincoln and ACAP Farms, as trustor, to Old Republic Title Company, as
    trustee for the benefit of Conterra, as beneficiary, and recorded in the official records of King
    County, California, as Document No. 2301891 (Conterra’s right, title and interest in and to Loan
         1004, together with all documents evidencing or securing the same, having been assigned to
    REDACTED




    Farmer Mac).

 4. Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and Fixture
    Filing, dated as of February 2, 2023, executed and delivered by C & A, as trustor, to Old Republic
    Title Company, as trustee for the benefit of U.S. Bank National Association, as Custodian/Trustee
    for Farmer Mac, as beneficiary, and recorded in the official records of Fresno County, California,
    as Document No. 2023-0011222.

 5. Amended and Restated Deed of Trust (With Future Advance Clause), Security Agreement,
    Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and delivered by
    C & A, as trustor, to Michael H. Patterson, as trustee for the benefit of U.S. Bank National
    Association, as Custodian/Trustee for Farmer Mac, as beneficiary, and recorded in the official
    records of Fresno County, California, as Document No. 2023-0011223.

 6. Amended and Restated Open-End Deed of Trust (With Future Advance Clause) Security
    Agreement, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
    delivered by Copper, ACAP Farms, Lincoln, Gradon and Cantua, as trustor, to Old Republic Title
    Company, as trustee for the benefit of U.S. Bank National Association, as Custodian/Trustee for
    Farmer Mac, as beneficiary, and recorded in the official records of Fresno County, California, as
    Document No. 2023-0011386.

 7. Amended and Restated Deed of Trust, Security Agreement, Assignment of Rents and Fixture
    Filing, dated as of February 2, 2023, executed and delivered by Copper, ACAP Farms, Lincoln,
    Gradon and Cantua, as trustor, to Old Republic Title Company, as trustee for the benefit of U.S.
    Bank National Association, as Custodian/Trustee for Farmer Mac, as beneficiary, and recorded in
    the official records of Fresno County, California, as Document No. 2023-0011359.




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 8. Amended and Restated Open-End Deed of Trust (With Future Advance Clause) Security
    Agreement, Assignment of Rents and Fixture Filing, dated as of February 2, 2023, executed and
    delivered by Maricopa, C & A and Willow, as trustor, to Fidelity National Title Company, as trustee
    for the benefit of U.S. Bank National Association, as Custodian/Trustee for Farmer Mac, as
    beneficiary, and recorded in the official records of Kern County, California, as Document No.
    223016523.




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